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       1
       2         UNITED STATES BANKRUPTCY COURT
                 DISTRICT OF NEW JERSEY
       3         --------------------------------------------X
                 In Re:                   Case No. 18-15691
       4
                 American Center For Civil Justice, Inc.
       5
                                          Debtor.
       6         --------------------------------------------X
       7
       8                     AUDIO TRANSCRIPTION
       9
     10                  DATE OF TRANSCRIPTION: May 3, 2018
     11
     12
     13                AUDIO TRANSCRIPTION of digital audio
     14          files of a Creditor's Meeting in relation to
     15          the above-captioned matter, transcribed by
     16          Madeline Tavani, a Notary Public of the
     17          State of New York.
     18
     19          WITNESS: ELIE EZER PERR
     20
     21
     22
     23
     24
     25

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       1
       2         A P P E A R A N C E S:
       3
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                 LAW OFFICES OF DOUGLAS T. TABACHNIK,
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       6         Freehold, New Jersey 07728
                 Tel: 732-780-2760
       7         Counsel for Dr. Michael Engelberg
       8
       9         TIMOTHY P. NEUMANN, ESQ.
                 BROEGE, NEUMANN, FISCHER & SHAVER
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     13               timothy.neumann25@gmail.com
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       1
       2         A P P E A R A N C E S: (cont'd)
       3
       4         ROBERT J. TOLCHIN, ESQ.
                 THE BERKMAN LAW OFFICE LLC
       5              Attorney for Creditors Diana Campuzano,
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     10          OFFICE OF U.S. TRUSTEE
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     12               jeffrey.m.sponder@usdoj.gov
     13
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     18
     19
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     21               Schwalb, LLC
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     23               gserbin@koffskyschwalb.com
     24
     25

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       1
       2         A P P E A R A N C E S: (continued)
       3
                 ELAN WEINREB, ESQ.
       4         THE WEINREB LAW FIRM, PLLC
                      Attorney for Creditor The Weinreb
       5              Law Firm, PLLC
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       7              eweinreb@weinreblaw.com
       8
                 KRISTY GRACE, ESQ.
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                      Attorneys for Creditor DLA Piper
     10               6225 Smith Avenue
                      Baltimore, MD 21209
     11               t: 410-580-3000
                      kristy.grace@dlapiper.com
     12
     13          ALSO PRESENT:
     14          Jedediah Perr
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25

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       1                341A MEETING - AUDIO RECORDING
       2                    (BEGIN FILE TITLED: 1001)
       3                     MR. SPONDER:     Good afternoon.       My
       4               name is Jeff Sponder.       I'm a trial
       5               attorney with the office of the United
       6               States Department Trustee Department of
       7               Justice.    Today is April 19th, 2018, a
       8               little after 2:30 in the afternoon.
       9                     We're here for the 341A meeting
     10                for the American Center for Civil
     11                Justice Inc., case number 18-15691,
     12                it's a Judge Gravelle case.
     13                      Counsel, can I have your
     14                appearance for the record?
     15                      MR. NEUMANN:     Timothy Neumann,
     16                Broege, Neumann, Fischer & Shaver
     17                representing the debtor.
     18                      MR. SPONDER:     And who is here to
     19                testify on behalf of the debtor?
     20                      MR. NEUMANN:     Elie Perr.
     21                      MR. SPONDER:     And Mr. Perr, do you
     22                swear or do you affirm under penalty of
     23                perjury that the information you're
     24                going to provide today will be
     25                truthful?

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       1                    E. PERR - AUDIO RECORDING
       2                     THE WITNESS:     To the best of my
       3               ability.
       4                     MR. SPONDER:     Are you under the
       5               influence of any alcohol or drugs today
       6               that would render your testimony not to
       7               be truthful?
       8                     THE WITNESS:     No.
       9                     MR. SPONDER:     Mr. Perr provided me
     10                with his New Jersey driver's license,
     11                it was a valid driver's license.          The
     12                picture on the driver's license matched
     13                the person -- the face that appears
     14                before me, I thank you for that.
     15          EXAMINATION BY
     16          MR. SPONDER:
     17                Q.    Can you spell your last name for
     18          the record please.
     19                A.    P-E-R-R.
     20                Q.    Is your first name Elie or Elie
     21          Ezer?
     22                A.    It's Elie Ezer middle name, broken
     23          up in two, Elie Ezer.
     24                Q.    And your home address?
     25                A.    63 Hedge Drive, Lakewood, New

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       1                    E. PERR - AUDIO RECORDING
       2         Jersey.
       3               Q.    And that's 08701?
       4               A.    Correct.
       5               Q.    And your best way to contact you
       6         by telephone?
       7               A.    Telephone.
       8               Q.    Which telephone, cell, home
       9         business?
     10                A.    4367184386086 (sic).
     11                Q.    Is that home, business or cell?
     12                A.    Both home and business, home
     13          office.
     14                Q.    And what is your relationship with
     15          the debtor?     Are you the president, owner,
     16          what's --
     17                A.    Chairman of the board, president.
     18                Q.    And there's a board of directors
     19          for the debtor?
     20                A.    Yes, yes.
     21                Q.    And who sits on the board of the
     22          directors?
     23                A.    Milton Pollack, Victoria Nolon, Al
     24          Bluestein, Milton Pollack.
     25                Q.    You said that one already.

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Okay, and...
       3               Q.    If you don't remember, you don't
       4         remember.
       5               A.    No, no, no, no, no, no, no.
       6               Q.    Take your time.
       7               A.    Okay.    Simonne Beckeled,
       8         B-E-C-K-L-E-D.      And Martin Hirschhorn.
       9                     JEDEDIAH PERR:      Joel.
     10                      MR. SPONDER:     Sir, I can't have
     11                you say that.
     12                A.    Joel Seitler, S-E-I-T-L-E-R.
     13                Q.    Martin Hirschhorn, when did he
     14          become a -- on the board of directors?
     15                A.    I don't recall the dates.
     16                Q.    Was he on the board of directors
     17          when the bankruptcy was filed?
     18                A.    Yes.
     19                      MR. SPONDER:     That's not listed
     20                as -- on number 28, the statement of
     21                financial affairs, I think he needs to
     22                be added.
     23                Q.    Also Mr. Bluestein, was he on the
     24          board of directors at the time of the
     25          bankruptcy filing?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Yes.
       3                     MR. SPONDER:     Same with him.
       4               Q.    So there's seven members that
       5         consist of the board of directors?
       6               A.    Yes.
       7               Q.    And that's how it's been since
       8         when?
       9               A.    Last two years I guess.        Perhaps
     10          longer.
     11                Q.    And who owns the debtor, who has
     12          ownership interest?
     13                A.    It's a not-for-profit.
     14                Q.    Not-for-profit.      Do you have any
     15          ownership interest in any businesses?
     16                A.    No.
     17                Q.    Are you involved in any other
     18          not-for-profit businesses?
     19                A.    Yes, synagogues and so on,
     20          community organizations.
     21                Q.    Anything like the debtor?
     22                A.    No.
     23                Q.    Similar to the debtor?
     24                A.    No.
     25                Q.    Have you heard of the company

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       1                    E. PERR - AUDIO RECORDING
       2         American Recovery Center, LLC?
       3               A.     I don't recall.
       4               Q.     I don't recall or don't know?         My
       5         question was have you ever heard of that
       6         company, American Recovery Center, LLC?
       7               A.     No, not to my recollection.
       8               Q.     Okay.
       9                      MR. SPONDER:    All right,
     10                Mr. Neumann, a couple of questions for
     11                you.
     12                       MR. NEUMANN:    Yes.
     13                       MR. SPONDER:    Retention
     14                application, when is that going to be
     15                filed?
     16                       MR. NEUMANN:    That will be filed
     17                probably over the weekend or by Monday.
     18                       MR. SPONDER:    Other than
     19                representing the debtor in this case,
     20                do you have any previous or ongoing
     21                relationship business or otherwise with
     22                the debtor or Mr. Perr?
     23                       MR. NEUMANN:    I do not.
     24                       MR. SPONDER:    And as a result
     25                you're not a pre-petition creditor of

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       1                   E. PERR - AUDIO RECORDING
       2               the debtor, is that correct?
       3                     MR. NEUMANN:     I am not.
       4                     MR. SPONDER:     I saw that a 2016(b)
       5               statement was filed.       Do you recall
       6               what the retainer amount was?
       7                     MR. NEUMANN:     It was ten
       8               thousand -- not ten thousand, it was
       9               $2,000 to cover the filing fee.          And
     10                the anticipated filing an adversary
     11                which cost $250, which was a little
     12                less than the filing fees.         It might
     13                say 1,730 on the 2016.        I'll amend
     14                that.
     15                      MR. SPONDER:     To 2000?
     16                      MR. NEUMANN:     Yeah, to 2000.
     17                      MR. SPONDER:     And those funds came
     18                from the debtor, the 2,000.
     19                      THE WITNESS:     My personal funds.
     20                      MR. SPONDER:     They were your
     21                personal funds.      Your personal funds a
     22                loan to the debtor or a contribution to
     23                the debtor?
     24                      THE WITNESS:     Contribution.
     25                      MR. SPONDER:     Just when you do the

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       1                   E. PERR - AUDIO RECORDING
       2               amended 2016(b) add "other" for
       3               Mr. Perr.
       4                     MR. NEUMANN:     Yeah.
       5                     MR. SPONDER:     Mr. Neumann, do you
       6               anticipate receiving any post-petition
       7               retainers?     I think I saw somewhere
       8               you're going to more than likely
       9               request a 15,000 post-petition
     10                retainer.
     11                      MR. NEUMANN:     Yeah, I discussed
     12                this with Ben. I think what I'm going
     13                to do is move for an interim fee order.
     14                      MR. SPONDER:     And have you -- and
     15                the agreements regarding the referral
     16                of the case?
     17                      MR. NEUMANN:     I do not.
     18                      MR. SPONDER:     Does the debtor
     19                intend to hire any other professional
     20                at this time?
     21                      MR. NEUMANN:     Too early to say.
     22                Potentially or possibly special
     23                counsel.    There's a potential claim
     24                against the law firm that the debtor
     25                may have and they may want to pursue

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       1                    E. PERR - AUDIO RECORDING
       2               the claim.
       3                     MR. SPONDER:     Schedule and
       4               statement of financial affairs I see
       5               have been filed.      Have there been any
       6               amendments filed at this time?
       7                     MR. NEUMANN:     I don't believe so.
       8                     MR. SPONDER:     Does the debtor
       9               anticipate filing any amendments?
     10                      MR. NEUMANN:     We'll see how this
     11                hearing goes.
     12                      MR. SPONDER:     All right.     And do
     13                you have the originals with you,
     14                Mr. Neumann?
     15                      MR. NEUMANN:     I do.
     16                      MR. SPONDER:     If you can break
     17                those up and start with the petition.
     18                Q.    Mr. Perr, if you wear glasses this
     19          would be the time to wear glasses.          If not,
     20          we will go on.     I'm going to go through all
     21          of the documents or most of the documents
     22          that have been filed with the bankruptcy
     23          court.
     24                      The first document I'm going to go
     25          through is the petition.        The petition is

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       1                    E. PERR - AUDIO RECORDING
       2         the document that the Court requires to be
       3         filed setting forth all of the information
       4         that it needs to open up your bankruptcy
       5         case such as the name of the company, the
       6         address.    Ask many other questions about
       7         whether or not any bankruptcy cases were
       8         filed in the last eight years.         Whether or
       9         not you're a tax-exempt entity, which is
     10          listed there and other questions, the Court
     11          needs to open up the bankruptcy case.           And
     12          at the end of that document is a signature
     13          page.
     14                      And is that your signature, sir.
     15                A.    That's my signature.
     16                Q.    And you signed that on or about
     17          March 23rd, 2018?
     18                A.    As it says.
     19                      MR. SPONDER:     There you go, Mr.
     20                Neumann.    Next we will go through the
     21                schedules, which I believe are these.
     22                This is the statement of financial
     23                affairs, these are the schedules.
     24                We'll figure it out.
     25                      MR. NEUMANN:     There's a signature.

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       1                    E. PERR - AUDIO RECORDING
       2                     MR. SPONDER:     That's the statement
       3               of financial affairs signature, sir,
       4               keep that one there.       Let me see if I
       5               can get to this document.
       6                     MR. NEUMANN:     Is that from the
       7               debtor?
       8                     MR. SPONDER:     This one, yeah.
       9               Q.    This is the summary of assets and
     10          liabilities of the company.         So when we
     11          do -- when you did schedules it's schedules
     12          A through H.     So what this is telling you is
     13          that your schedules A and B, which are the
     14          assets of the company, are listed here.
     15          Schedule D, secured claims.         Schedule E, any
     16          priority claims and Schedule F, any
     17          unsecured claims.      Those are all set forth
     18          specifically here.      So this is all of the
     19          assets of the company.       And as we go through
     20          them we'll get to Schedule D which is here,
     21          which is secured claims.        Schedules E and F
     22          are unsecured claims which are all listed
     23          here.   Schedule G or any executory contracts
     24          or leases that the debtor is involved in,
     25          and that's this schedule right here.           And

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       1                    E. PERR - AUDIO RECORDING
       2         then Schedule H are any co-debtors.
       3                     All right, do you recall reviewing
       4         any of these documents with your attorney?
       5               A.    I reviewed and signed everything.
       6               Q.    This is a declaration whereby you
       7         declared under penalty of perjury that the
       8         information provided in the schedules is
       9         true and correct to best of your knowledge.
     10          Is that your signature, sir?
     11                A.    To the best of my knowledge my
     12          signature.
     13                Q.    And you signed that on or about
     14          April 12th, 2018?
     15                A.    As stated, yes.
     16                Q.    Next is a statement of financial
     17          affairs, various questions asking about the
     18          income of the debtor over the last several
     19          years, whether or not the debtor was
     20          involved in any litigation over the last
     21          several years, whether or not the debtor
     22          made any payments of over $6,425 during the
     23          90 days prior to the bankruptcy filing.            Any
     24          litigation the debtor was involved in before
     25          the bankruptcy was filed.        Requests whether

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       1                     E. PERR - AUDIO RECORDING
       2         or not you the debtor had a pre-petition
       3         account, who had the books and records and
       4         other questions.
       5                      Do you recall reviewing this
       6         document with your attorney?
       7                A.    Reviewed it and signed.
       8                Q.    At the end of this document right
       9         here similar to the schedules is the
     10          declaration whereby you declared under
     11          penalty of perjury that the information
     12          provided in this statement of financial
     13          affairs was true and correct to the best of
     14          your knowledge.      Is that your signature,
     15          sir?
     16                 A.    That's my signature.
     17                 Q.    You signed that on or about
     18          April 12th of 2018?
     19                 A.    Yes.
     20                       MR. SPONDER:    Do you have the
     21                 resolution with you, Mr. Neumann?
     22                       MR. NEUMANN:    I'm not sure.
     23                       MR. SPONDER:    I know it was filed.
     24                 I have the signature so --
     25                       MR. NEUMANN:    All right.

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       1                    E. PERR - AUDIO RECORDING
       2                     MR. SPONDER:     -- if you don't mind
       3               I'll use mine.
       4                     MR. NEUMANN:     That's fine.
       5               Q.    Sir, this is what purports to be a
       6         resolution of the board of directors
       7         authorizing the filing of the bankruptcy
       8         case as well as authorizing the hiring of
       9         Mr. Neumann's firm.       Do you recall seeing
     10          this document or reviewing this document?
     11                A.    What's the date on the document?
     12                Q.    The date on the document
     13          March 22nd, 2018.
     14                A.    Yes.
     15                Q.    Is that your signature, sir?
     16                A.    Yes, it is.
     17                Q.    Do you need an opportunity to
     18          review any of these documents before I go
     19          over them?
     20                A.    I don't -- I can't see any reason.
     21                Q.    All of the information that's
     22          included in the petitions, schedules and
     23          statement of financial affairs, does it
     24          accurately represent the debtor's financial
     25          position at the time of the filing?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    To the best of my knowledge.
       3               Q.    Has this debtor filed any
       4         bankruptcy cases in the last eight years?
       5               A.    No.
       6               Q.    Why did the debtor file for
       7         Chapter 11 protection?
       8               A.    Because we couldn't reach a
       9         settlement satisfactory to all the victims.
     10          And we felt that the bankruptcy court is the
     11          only fair way to see that everybody receives
     12          their due compensation.
     13                Q.    So explain to me what that means,
     14          and as I'm new to this.
     15                A.    Okay, there were several claimants
     16          who would not share the assets or the
     17          settlement that was offered to them.           They
     18          wanted to take whatever assets we had and
     19          even presented a statement that they
     20          wouldn't want to close the corporation,
     21          destroy the corporation.        I said to my -- my
     22          own attitude was to the board was that it
     23          has to be settled fairly to all claimants or
     24          the bankruptcy court will have to take over
     25          and do the same thing for us.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Okay, claimants, how many
       3         claimants?
       4               A.    Total number of claimants I didn't
       5         count.
       6               Q.    Top of your head.
       7               A.    I can't tell you.
       8               Q.    Ten.   Less than, more than?
       9               A.    Approximately, I imagine, I
     10          don't -- I'm not fair to answer that to you.
     11                      MR. SPONDER:     Mr. Neumann, when I
     12                was looking through the docket, it
     13                looked like for whatever the reason the
     14                clerk made this a small business case
     15                or thinks it's a small business case.
     16                You might want to address that with the
     17                clerk because this definitely is not a
     18                small business case.
     19                      MR. NEUMANN:     Not at all.
     20                      MR. SPONDER:     So exclusivity is
     21                three months.     I don't have the date,
     22                but three months from the filing and I
     23                know that a plan has been filed.
     24                      Have you discussed exit strategy
     25                with the debtor, Mr. Neumann?

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       1                   E. PERR - AUDIO RECORDING
       2                     MR. NEUMANN:     We have.
       3                     MR. SPONDER:     And what's the exit
       4               strategy as of now?
       5                     MR. NEUMANN:     Well there's some
       6               preliminary things that have to be
       7               figured out.     There's litigation in New
       8               York which, three creditors retained
       9               some court orders that contained some
     10                injunctions that purport to perhaps
     11                create liens, perhaps not.         I filed an
     12                adversary complaint to have the
     13                bankruptcy court rule on whether or not
     14                they're secured creditors or not.          It's
     15                the debtor's position that they're not,
     16                they probably have a contrary position.
     17                      If they prevail then the case will
     18                go one way.     If they do not prevail and
     19                there are general unsecured creditors,
     20                then the case will go in a different
     21                direction.     But I think that's going to
     22                be something that has to be determined
     23                initially before we can begin to think
     24                about a plan.
     25                      MR. SPONDER:     Well, I appreciate

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       1                   E. PERR - AUDIO RECORDING
       2               that.    But what's -- you gave me two
       3               directions but no direction on the
       4               directions.
       5                     MR. NEUMANN:     That's what I try to
       6               do all the time.      So we're going to
       7               hopefully determine whether these three
       8               creditors are secured or not.         If -- if
       9               they are there will be a distribution
     10                to unsecured creditors that's pro rata.
     11                 If they -- if it turns out they're
     12                secured then obviously they have to get
     13                paid out of other creditors, and
     14                whether that consumes everything or
     15                not, remains to be seen.        Because
     16                there's also claims that have been
     17                filed.    One alone is $30 million by
     18                somebody named Ambush, I think.          And --
     19                and if that claim holds up then the
     20                debtor is insolvent.
     21                      We think that the claim is -- it's
     22                listed as a disputed claim.         So we
     23                obviously have to focus on a resolution
     24                of claims, it's not a case in which I
     25                think you can file a plan and litigate

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       1                    E. PERR - AUDIO RECORDING
       2               everything after the fact.         I think
       3               these -- the magnitude of these issues
       4               requires that they be resolved in
       5               advance of filing a plan.
       6                     MR. SPONDER:     But as of now, it's
       7               the debtor's intent to reorganize,
       8               correct?
       9                     MR. NEUMANN:     Correct.
     10                Q.    And the debtor is a corporation,
     11          it's a tax-exempt corporation from -- is it
     12          licensed in New York or New Jersey or
     13          somewhere else?
     14                A.    I believe it's federal, 501(c)3.
     15          It's incorporated in New York and we're
     16          allowed to operate in New Jersey.
     17                Q.    So it's a New York corporation,
     18          it's a 503C.
     19                      And the type of business, what do
     20          you say the type -- the business is, the
     21          business model.
     22                A.    It's a schedule to help victims of
     23          oppression everywhere, governmental, private
     24          organization -- terrorist organizations, so
     25          on and so forth.      We began initially with

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       1                   E. PERR - AUDIO RECORDING
       2         American prisoners of war who were not
       3         properly taken care of, Japanese --
       4         Japanese, under the Japanese captured many
       5         thousands, tens of thousands of American
       6         prisoners of war.      They were not
       7         compensated, they made a treaty, we took
       8         that one.    We fought that one, we fought --
       9         4,000 American soldiers who were captured in
     10          World War II in the Battle of the Bulge and
     11          sent to Buchenwald Concentration Camp, they
     12          were not buried and never received military
     13          funerals.    A good share of them died, 13
     14          years before the end of World War II (sic)
     15          and we took that on, that project as well.
     16                      At a certain point I reached --
     17          there was a ruling in Iran from the ruling
     18          part in Iran after the Shah had fallen and
     19          they started to hang Jews in public.           And
     20          the people they had to get out, and I was
     21          able to create escape routes between the
     22          Turkish border where the border -- the
     23          tribes are dividers, so it's very hard to
     24          separate them, it's constant back and forth.
     25          And the same as on the other side of

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       1                    E. PERR - AUDIO RECORDING
       2         Pakistan border in Baluchestan, and many
       3         thousands are able to get out that way.
       4                     There was a -- at that time, I was
       5         probably one of the single people that the
       6         State Department used to call for
       7         information that was taking place in Iran
       8         because America was blocked out, the United
       9         States was blocked out.        I used to get calls
     10          what is the weather in Tehran, that's how
     11          far it went.     I had contact with the Shah's
     12          family Farah Diba, his wife, my code name
     13          was Olivia Warren, and we had contact back
     14          and forth and were able to accomplish a lot
     15          with it.
     16                      Now, at a certain point they were
     17          offering $100,000 for every American killed
     18          or any government.      Now, understand what
     19          America means.     America is the great Satan
     20          and the Jews are the little Satan.          If you
     21          get American Jews it's worth more to them,
     22          makes a bigger explosion, a little more
     23          noise, more publicity.
     24                      And the very first case was a
     25          group of students boarding buses, and when

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       1                   E. PERR - AUDIO RECORDING
       2         they saw the backpacks, they were Americans
       3         they went after that one and blew it up, the
       4         first victim was Alisa Flatow.
       5                     And at that point we went to -- I
       6         was able to pass a law from congressman to
       7         congressman, I can't remember all the names
       8         at this point.     We passed a law that was
       9         passed that you're allowed to sue, there's
     10          no -- there's no sovereign immunity for
     11          terrorist states, the seven terrorist
     12          states.    Which allowed people to bring
     13          lawsuits.    And the concept was, follow the
     14          money and you'll find the criminal.           And you
     15          do the crime pay.      And I figured they're
     16          going to run out of money before you run out
     17          of people to kill, and that is what
     18          happened.
     19                      We came across the one of the four
     20          ways of stopping terrorism by taking their
     21          money. Responsible probably for $3 billion
     22          collected so far, did not do anything else,
     23          we're not a law firm, we hired law firms, we
     24          hired important law firms to be part of the
     25          American system.      And people would follow

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       1                   E. PERR - AUDIO RECORDING
       2         that example and everyone would be doing it,
       3         just like you see other people doing it
       4         today.
       5                     Now, the first case we had a lone
       6         practitioner do it, but after that we went
       7         to DLA Piper, which was I think the largest
       8         that there is out there.        They took it on
       9         pro bono, in the end we paid them anyway.
     10          And we ran many -- they ran many lawsuits.
     11          In other words, they -- we would go to
     12          victims and say we have a law firm for you,
     13          which authorized us to engage a law firm for
     14          you.   We negotiate a price with them which
     15          is half the standard price, less than half.
     16          And then they will take over and they will
     17          be the representative law firm of these
     18          people.    Our powers went that way, a lot of
     19          things to hear about.
     20                      The attorney general at the time
     21          was -- he resigned.       Tell me his name, he
     22          was -- he resigned over this, as a matter of
     23          fact, over the fight of covert terrorist was
     24          involved with Saudi Arabia.         And it was a
     25          about a billion dollar judgment besides

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       1                    E. PERR - AUDIO RECORDING
       2         punitive damages.      I was able to establish
       3         $300 million for every claim by beating
       4         Peter -- I can't remember, you gotta forgive
       5         me all the names.      Of established how much
       6         Iran is paying to support terrorism.           So
       7         every case had $300 million punitive damages
       8         established to that case, to that incident.
       9                     It became one of the four ways,
     10          there's many other actions that we're
     11          involved with.     But that's where the
     12          lawsuits started and it's ongoing today.
     13                      I passed the law, I used to get
     14          people who were victims, would you bring
     15          this lawsuit, get them involved, I paid the
     16          lawyers to get them judgments.         Collection,
     17          nobody believed whatever happened.          That's
     18          how do you collect from foreign governments?
     19                      And eventually, not too many years
     20          ago they found a way and the collections
     21          have been taking place, believe it or not.
     22          Freezing assets, taking away a lot of
     23          government interest against this, because
     24          they favor one country as opposed to another
     25          country.    And sometimes they'll block the

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       1                    E. PERR - AUDIO RECORDING
       2         lawsuits against a country that the State
       3         Department is trying to ease up with, and
       4         sometimes they'll say go ahead, take it, and
       5         it has to be worked out with them.
       6                     And only the people from the large
       7         firms such as DLA have contact in the
       8         government with senators and congressman
       9         with the State Department and can figure out
     10          which is the way to go here.
     11                      But they will allow us to and will
     12          block us.    And if a lone practitioner comes
     13          and starts to make -- he wants to sue for a
     14          100 billion, he's not going to go very far.
     15          He's going against the policy of United
     16          States government very often.
     17                Q.    All right, thank you.        Can I
     18          shorten that to it appears that the debtor's
     19          business is to help victims of terrorist
     20          type of attacks?
     21                A.    All other types of oppression,
     22          primarily government oppression.
     23                Q.    And the debtor trades as American
     24          Center for Civil Justice, Inc.?
     25                A.    Yes, it does.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    And what's the address of the
       3         debtor?
       4               A.    This I don't think (inaudible) I
       5         go to the office, I don't know the address,
       6         212 River Avenue.      What is it, 216 River
       7         Avenue.
       8               Q.    Suite 110, what town?
       9               A.    Yes, it is.     Lakewood, New Jersey.
     10                Q.    That's 08701?
     11                A.    Yes.
     12                Q.    And when did the debtor begin its
     13          operations?
     14                A.    I don't remember, 20, probably
     15          some more than 20 years ago.
     16                Q.    And the debtor was operating on
     17          the petition date and it continues to
     18          operate?
     19                A.    Excuse me?     I didn't hear the
     20          question.
     21                Q.    That's all right.       The debtor was
     22          operating on the petition date and is still
     23          operating, is that correct?
     24                A.    Yes.
     25                Q.    Has the debtor made any changes in

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       1                    E. PERR - AUDIO RECORDING
       2         its management or its operations in the year
       3         prior to the bankruptcy filing?
       4               A.    It's a hard question to answer.             I
       5         mean, our assets were frozen, they couldn't
       6         do very much.
       7               Q.    No, I understand.       But have there
       8         been any changes in the board of directors,
       9         have there been any changes in who is
     10          working?
     11                A.    Not for a year before, no.
     12                Q.    Okay.    How about since the
     13          petition date?
     14                A.    Yes.
     15                Q.    What's changed?
     16                A.    I took it under control, to fill
     17          out the lease papers and work for
     18          (inaudible.)
     19                Q.    And the controller's name?
     20                A.    Harris Tanenbaum.
     21                Q.    And he's an employee of the
     22          company?
     23                A.    At this point.
     24                Q.    And how many employees does the
     25          company have now?

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       1                     E. PERR - AUDIO RECORDING
       2                A.    Four.
       3                Q.    And are you an employee?
       4                A.    Yes, I am.
       5                Q.    And are any of your family members
       6         employees of the company?
       7                A.    No.
       8                Q.    And what is your weekly, monthly
       9         or yearly salary?
     10                 A.    200 and change, I don't know, 212
     11          is three and a half percent.         So it's
     12          211,000, something like that.
     13                 Q.    That's for the year?
     14                 A.    Yeah.   It's give or take, I don't
     15          know.
     16                 Q.    Are there any benefits other than
     17          that salary?
     18                 A.    No.
     19                 Q.    There's no --
     20                 A.    No insurance, no nothing, no
     21          retirement, no nothing.
     22                 Q.    No pension, no 401(k)?
     23                 A.    No cars, nothing.
     24                 Q.    Has the debtor made any loans to
     25          you?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    The organization?
       3               Q.    Correct.
       4               A.    It hasn't made any loans, no.
       5               Q.    To you, nothing to you?
       6               A.    No.
       7               Q.    Have you made any loans to the
       8         debtor, have you loaned money to the debtor?
       9               A.    I donate it, I write it off, I
     10          don't -- it's not a loan.
     11                Q.    Does the debtor owe you any money?
     12                A.    Salary, that's all.
     13                Q.    Do you recall how much in salary?
     14                A.    No, a year and a half plus,
     15          something like that.
     16                Q.    When is the last time you took a
     17          salary?
     18                A.    Just now, after bankruptcy, last
     19          week.
     20                Q.    When was the last time prior to
     21          bankruptcy?
     22                A.    More than a year and a half.         I
     23          told you I don't recall the dates exactly.
     24                Q.    Have any of debtor's obligations
     25          been personally guaranteed by you or any of

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       1                    E. PERR - AUDIO RECORDING
       2         your family members?
       3               A.    Debtor's obligations?
       4               Q.    Right, so the debtor's creditors
       5         that owe money.      Do you also owe them?       Did
       6         you agree to pay them?
       7               A.    You have to be more specific.
       8                     MR. NEUMANN:     Did you sign any
       9               person guarantees?
     10                      THE WITNESS:     For the company?
     11                      MR. NEUMANN:     Yeah.
     12                      THE WITNESS:     No.
     13                Q.    Have you received the United
     14          States trustee operating guidelines?
     15                A.    This here, yeah.
     16                Q.    No.   A thick package that came
     17          from my office that explains what a Chapter
     18          11 is and what you're --
     19                A.    Yes, I think I recall going
     20          through that.
     21                Q.    And has the debtor closed its
     22          pre-petition bank accounts?
     23                A.    Yes, it did.
     24                Q.    And opened up new debtor
     25          possession accounts?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Yes, it did.
       3               Q.    With which bank?
       4               A.    TD Bank.
       5               Q.    And how many accounts are opened?
       6               A.    Two.
       7               Q.    And have you provided a voided
       8         check or the account information to my
       9         office?
     10                A.    Yes.
     11                Q.    Have you had an initial debtor
     12          interview with my office over the phone?
     13                A.    I have.
     14                      MR. SPONDER:     Okay, we're going to
     15                need to schedule that, Mr. Neumann.
     16                      MR. NEUMANN:     Dan?
     17                      MR. SPONDER:     With this one, yes.
     18                Q.    Is the debtor current with its
     19          liability insurance?
     20                A.    Yes.
     21                Q.    Worker's Compensation?
     22                A.    We talked about Worker's
     23          Compensation, yeah.       And whatever comes in
     24          that package, yeah.
     25                Q.    And the property that the debtor

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       1                    E. PERR - AUDIO RECORDING
       2         operates from, who owns that property?
       3               A.    It's leased, it's rented.
       4               Q.    Leased from whom?
       5               A.    What's it called, what's it
       6         called?    It's down here.
       7               Q.    It's on the schedules?
       8               A.    Yes.
       9               Q.    Riviera Center?
     10                A.    Right, that's it, yeah.
     11                Q.    And how much -- how much a month
     12          is paid for rent?
     13                A.    575.
     14                Q.    And we're going to go back; I had
     15          asked about liability and you said Worker's
     16          Compensation.      Does the debtor have
     17          liability insurance and Worker's
     18          Compensation or just Worker's Compensation?
     19                A.    There's a package, it's Worker's
     20          Compensation and it's not an outside
     21          liability.    We don't have any -- there's
     22          nothing for us to insure here, it's owned by
     23          property -- the owner and he has insurance.
     24                Q.    Okay, I understand.       I understand,
     25          the debtor needs to have liability insurance

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       1                    E. PERR - AUDIO RECORDING
       2         on property that its leasing.         You can talk
       3         to Mr. Neumann about that later.
       4                     Have you provided a copy of the
       5         insurance certificate to Mr. Neumann?
       6               A.    Yeah.
       7                     MR. SPONDER:     Mr. Neumann, I
       8               didn't see that in my file.         So if you
       9               could forward the insurance cert, I
     10                would appreciate that.
     11                      MR. NEUMANN:     Will do.
     12                Q.    Is the debtor current with its
     13          taxes post-petition; so since the bankruptcy
     14          was filed, is the debtor current with any
     15          taxes?
     16                A.    The last plan I do just now, so
     17          when they put it on -- they filed that it
     18          wasn't paid, but we paid it, it's a few days
     19          over.
     20                Q.    So the debtor intends to pay its
     21          taxes going forward?
     22                A.    Yes, yes.
     23                Q.    Has the debtor accrued any
     24          post-petition obligations outside its normal
     25          course of everyday business?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Any post?
       3               Q.    After the bankruptcy was filed has
       4         the debtor incurred -- has the debtor
       5         accrued any obligations outside its normal
       6         course of business?
       7               A.    No, no.
       8               Q.    Has the debtor provided my office
       9         with -- with financial documents including
     10          balance sheets, tax returns?
     11                A.    Yes.
     12                Q.    Those have all been provided?
     13                A.    Yes.   To the best of any
     14          knowledge, yeah.
     15                Q.    To Mr. Neumann?
     16                      MR. NEUMANN:     Yeah, also I'll
     17                check.
     18                      MR. SPONDER:     So let's put down
     19                for insurance, Mr. Neumann, today is
     20                Thursday.    Monday on the insurance
     21                certificate?
     22                      MR. NEUMANN:     Yup.
     23                      MR. SPONDER:     And I'll give you
     24                'till next Friday on the financials.
     25                      MR. NEUMANN:     Okay.

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       1                     E. PERR - AUDIO RECORDING
       2                Q.    All right, there's a requirement
       3         for every Chapter 11 debtor to pay a
       4         statutory fee to the United States trustee
       5         program, it's pursuant to two 8USC1930A6.
       6         It's based on debtor's disbursements during
       7         a calendar quarter.       So each quarter that
       8         passes, the debtor you'll look at what those
       9         disbursements were, you'll go into the
     10          operating guidelines, there's a chart in the
     11          operating guidelines that says if the
     12          disbursements are 0 to $14,999, you'll pay
     13          325.   15,000 to 74,999, you pay 615.          So on
     14          and so forth.
     15                       You'll get a letter in the amount
     16          that estimates what that amount is every
     17          quarter and the first quarter will be due at
     18          the end of this month.       So the due date is
     19          30 days after a quarter ends.
     20                       Do you understand that?
     21                 A.    Yes.
     22                 Q.    Has the debtor made any payments
     23          after the bankruptcy was filed to any
     24          creditors that were owed money before the
     25          bankruptcy were filed?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    The only one would be rent.         They
       3         billed me for three months.         They hadn't
       4         been paid so I paid it the three months,
       5         because if I don't pay it I lose the office,
       6         so they sent me the bill now. I mean, yeah.
       7               Q.    And it's been paid?
       8               A.    Been paid, yes.
       9               Q.    Okay.    Before paying anything
     10          that's owed pre-petition, I would advise you
     11          and --
     12                A.    I think that nothing was paid.
     13                Q.    No, understood.      But if it comes
     14          up again, reach out to Mr. Neumann.
     15                A.    Will do.
     16                Q.    Have you made any payments after
     17          the bankruptcy was filed to any
     18          professionals, such as to attorneys,
     19          accountants, or realtors and the like?
     20                A.    No.
     21                Q.    Does the debtor intend to sell any
     22          of its assets at this time?
     23                A.    No.   We have no assets.
     24                Q.    One of the other responsibility of
     25          a Chapter 11 debtor is to file monthly

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       1                     E. PERR - AUDIO RECORDING
       2         operator reports.
       3                A.    Yes.
       4                Q.    So the monthly operator reports
       5         are due 20 days after a month expires.           This
       6         case was filed at the end of March, so
       7         you'll be able to combine March and April in
       8         your first monthly operator report will be
       9         due 5/20, so May 20, 2018 will be the first
     10          one.
     11                       All right, as you said earlier,
     12          the debtor leases the property from Riviera
     13          center for 575 a month.        Is that correct?
     14                 A.    Yes.
     15                 Q.    So the debtor does not own any
     16          real estate?
     17                 A.    No.
     18                 Q.    Does the debtor own any stocks,
     19          bonds or any other interest in any other
     20          entities?
     21                 A.    No.
     22                 Q.    Does the debtor own any vehicles?
     23                 A.    No.
     24                 Q.    Does the debtor own any office
     25          equipment?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    No.
       3               Q.    Who owns the office equipment in
       4         the office?
       5               A.    The owner of the property.
       6               Q.    So Riviera Center for 575 leases
       7         the debtor the property and the equipment --
       8               A.    Yes.
       9               Q.    I mean, and the equipment in
     10          there.
     11                      Does the debtor own any machinery?
     12                A.    No.
     13                Q.    Does the debtor have any
     14          inventory?
     15                A.    No.
     16                Q.    Does the debtor set forth on its
     17          schedules and accounts receivable of
     18          $11.8 million and that all $11.8 million is
     19          uncollectible.     Can you explain that?
     20                A.    That's money that's coming to us
     21          by -- from different sources for work that
     22          was extended and agreements that were made
     23          and that's about it.
     24                Q.    Well, what this says is that you
     25          have accounts receivable 11.8 million and

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       1                    E. PERR - AUDIO RECORDING
       2         that you're not going to be getting the
       3         11.8 million?
       4               A.    Because I have no way to
       5         collecting it.
       6               Q.    Your answers were opposite.         So
       7         take a breath.
       8               A.    If it's not collectible, if it's
       9         not collectible, it's not collectible,
     10          that's it.
     11                Q.    Well, you're the one that did it,
     12          so --
     13                A.    Right, right.      It's not
     14          collectible, I don't recall exactly the
     15          break on things.
     16                Q.    Okay, you don't remember where it
     17          is?
     18                A.    No, I know there's -- you'll
     19          continue the questions, there's other moneys
     20          coming to us that probably is collectible.
     21                      MR. TOLCHIN:     That's item number
     22                11 you're asking about?
     23                      MR. SPONDER:     Yes.
     24                      MR. TOLCHIN:     For listed is less
     25                than 90 days old?

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       1                    E. PERR - AUDIO RECORDING
       2                     THE WITNESS:     I have to see what
       3               that is.
       4                     MR. SPONDER:     No, they're 90 days
       5               older.
       6                     MR. TOLCHIN:     Older.
       7                     THE WITNESS:     I have to see if
       8               that's (inaudible.)
       9                     MR. SPONDER:     I'm going to need
     10                with that 11.8 million (inaudible).
     11                A.    I don't recall that.
     12                Q.    Number 11 on Schedule AB.         So I
     13          think Mr. Neumann is showing you Schedule
     14          11AB, question 11 which sets forth accounts
     15          receivable, 90 days older or less.
     16                      MR. SPONDER:     So I guess it is 90
     17                days old or less.
     18                Q.    11.8 million.
     19                A.    I don't recall, I don't have the
     20          paperwork in front of me right now.
     21                Q.    Okay, what paperwork do you need?
     22                A.    I don't know notes it was written
     23          from, I don't recall.
     24                      MR. SPONDER:     So those written
     25                notes, Mr. Neumann, I'm going to need.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    And then there's 4,000 listed as
       3         90 days older.     Do you know what the 4,000
       4         consisted of?
       5               A.    I don't recall.
       6               Q.    At the time of the filing, you
       7         list an operating account at TD Bank of --
       8         with $740,000 and change in it.          Is that
       9         correct?
     10                A.    That's correct.
     11                Q.    And is there still $740,000 in
     12          there?
     13                A.    Yeah, minus a few pennies.
     14                Q.    When was the last time you looked
     15          at the bank account?
     16                A.    The beginning of the week I guess.
     17                Q.    And it was a few pennies short of
     18          740,000?
     19                A.    A few pennies, it was -- yeah, it
     20          was the same amount the beginning of the
     21          week.
     22                Q.    And then another TD Bank account,
     23          a payroll tax account of 100,000.
     24                A.    Yes.
     25                Q.    That's still there?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Yes.
       3               Q.    Then there's money held by a
       4         retired judge, I guess as a trustee in a --
       5         in a lawsuit of a little bit over
       6         $23 million?
       7               A.    Yes.
       8               Q.    Money held by Tory's, LLP, unknown
       9         amount.    Do you know why that's unknown?
     10                A.    Tory's, LLP.
     11                Q.    Tory's, T-O-R-Y-S.
     12                A.    It's an attorney for -- attorney
     13          in England I think it was.
     14                      MR. NEUMANN:     Canada.
     15                A.    Tory's is a law firm, yes.
     16                Q.    Do you know what the amount that's
     17          owed to them?
     18                A.    No, it varies it goes each month
     19          he puts in more and so on.
     20                Q.    Is Tory's still working on
     21          litigation?
     22                A.    Yes, certainly.
     23                Q.    Who is Tory's working for?
     24                A.    He's working for on behalf of the
     25          clients.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Who are the clients?
       3               A.    The clients are -- there's a list
       4         of names here of creditors; however, it is
       5         on the list, that's the list of clients.
       6         This is non-hires of people that they're
       7         collecting for.
       8               Q.    Is the debtor a client?
       9               A.    No.
     10                Q.    So the law firm does not represent
     11          the debtor any --
     12                A.    No.
     13                Q.    -- of these law firms do not
     14          represent the debtor, they represent the
     15          claimants?
     16                A.    The victims.
     17                Q.    Okay, there's Lourdes L. Morena
     18          Ledon, Puerto Rico 749,000.         Do you know
     19          what that was for?
     20                A.    Yeah, that was residual of a
     21          lawsuit on behalf of the Lod massacre,
     22          Puerto Ricans who were killed in -- by
     23          terrorists in Lod Airport, 40 some-plus
     24          years, about 45 years ago, we were in a
     25          lawsuit and got them judgments.          And one of

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       1                    E. PERR - AUDIO RECORDING
       2         the lawyers out there is holding up moneys,
       3         demanding they get cuts from it, so on and
       4         so forth for filing a paper, whatever it is.
       5         So they're holding it up.
       6               Q.    So there's a fee dispute?
       7               A.    To say the least, yeah.
       8               Q.    Paul Gaston, 712,000?
       9               A.    Yes, he represents victims, yes.
     10                Q.    And it says here he has claims
     11          against the amount of 712,000.         Do you know
     12          what his claims are?
     13                A.    According to the agreement made
     14          with him representing the clients, so it's
     15          owed to him.
     16                Q.    That didn't answer my question.
     17                A.    Repeat the question.
     18                Q.    That's fine.     What amount is
     19          possibly owed to him of the 712,000 that
     20          he's claiming to be --
     21                A.    We're not contesting that.
     22                Q.    All right, so you're contesting
     23          that so you don't --
     24                A.    I'm not contesting it, I'm not
     25          contesting it.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    So then what's the answer?
       3               A.    What's the question?
       4               Q.    That's fine.     I can ask the
       5         question over and over again.
       6                     712,000 is owed to Mr. Gaston?
       7               A.    Yeah.
       8               Q.    You set forth on the schedules he
       9         has claims against the money.
     10                A.    Yes.
     11                Q.    I'm asking you how much are his
     12          claims.
     13                A.    Total amount?
     14                Q.    The entire amount?
     15                A.    Okay, yeah.
     16                Q.    And that's pursuant to a contract?
     17                A.    Yes.
     18                      MR. SPONDER:     I'm going to need
     19                that contract.      Probably going to need
     20                the contract with Ms. Ledon too.
     21                      THE WITNESS:     Can I take a break?
     22                      MR. NEUMANN:     I'm going to say all
     23                these lawyers that are representing
     24                victims, if there's contracts, we'll
     25                just get them all.

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       1                   E. PERR - AUDIO RECORDING
       2                     MR. SPONDER:     Fair, thank you.       I
       3               need more to read.
       4                     THE WITNESS:     Can we get a break
       5               here or what?
       6                     MR. SPONDER:     Do you need a break?
       7               Okay, I can give you a break.
       8                     THE WITNESS:     Okay.
       9                     MR. SPONDER:     I'm going to go off
     10                the record, Mr. Perr needs a break.
     11                        (END FILE TITLED: 1001)
     12                     (BEGIN FILE TITLED: 1002)
     13                      MR. NEUMANN:     It's my wife's
     14                birthday.
     15                      MR. SPONDER:     Happy birthday.
     16                      MR. NEUMANN:     Well, it's not going
     17                to be happy if we don't get out of
     18                here.
     19                      MR. TOLCHIN:     Birthday today or
     20                tonight?
     21                      MR. NEUMANN:     Well, yeah.
     22                      UNIDENTIFIED SPEAKER:        (Inaudible.)
     23                      MR. SPONDER:     We're back, Mr. Perr
     24                is back, he took a break, everybody
     25                else took a break.       We were -- I was

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       1                     E. PERR - AUDIO RECORDING
       2               asking questions about equipment and
       3               I'm going to go from there in Schedules
       4               A and B.
       5                      Mr. Neumann, number 54, part nine
       6               of Schedules A and B, does the debtor
       7               own or lease any real property, answer
       8               no.    We have already clarified that the
       9               answer should be question and that's
     10                the property at 216 in lake - I don't
     11                know the --
     12                       THE WITNESS:    In Lakewood.
     13                       MR. SPONDER:    Yeah, the one in
     14                Lakewood 216.
     15                       MR. NEUMANN:    River Avenue, right.
     16                Q.     All right, there's an unliquidated
     17          claim against DLA Piper for damages and
     18          indemnification.      Amount requested
     19          $19 million.     Can you explain that,
     20          Mr. Perr?
     21                A.     Yeah, I didn't do much -- well, I
     22          can't tell you the figure where it comes
     23          from.   But whatever damages we feel that
     24          that's the party that should be sued here,
     25          he breached an agreement.        As far as we're

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       1                    E. PERR - AUDIO RECORDING
       2         concerned he breached an agreement with the
       3         American Center and is liable for whatever
       4         other liabilities are.
       5               Q.    So the debtor's intent is to file
       6         a lawsuit against DLA Piper?
       7               A.    At this point, yes.
       8               Q.    But you don't know where the
       9         $19 million amount number came in?
     10                A.    I don't recall.
     11                Q.    Okay.    There's a pending
     12          counterclaim against Michael and Mindy
     13          Engleberg and the New York Center for Civil
     14          Justice for 4.3 million.
     15                A.    Yes.
     16                Q.    What is that counterclaim?
     17                A.    That was money that was diverted
     18          from the American Center to the New York
     19          Center.
     20                Q.    And what's the case that's
     21          involved in that's a counterclaim?          What's
     22          the name of the case, do you recall?
     23                A.    I don't know.
     24                Q.    Was it a derivative action that
     25          was filed Nassau County in New York?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    I don't know if it's derivative
       3         but it was filed Nassau County.
       4               Q.    But it involves Engleberg and the
       5         New York Center for Civil Justice?
       6               A.    Yes.
       7               Q.    All right, so on question seven of
       8         the statement of financial affairs all legal
       9         actions that's not included in there, should
     10          that have been included?
     11                A.    I don't know.
     12                Q.    Well, if there's an action
     13          against -- by Engleberg versus the debtor
     14          and you're required to list all legal
     15          actions involving the debtor within one year
     16          prior to bankruptcy cases, shouldn't that be
     17          there?
     18                A.    Yes.
     19                      MR. NEUMANN:     So we'll add that.
     20                Q.    Do you know of any other lawsuits
     21          that the debtor was involved in besides that
     22          Compuzano and the Greg Salzman case, as well
     23          as the Engleberg case, those three.           Were
     24          there any other lawsuits?
     25                A.    Yes, it was all non-hisers

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       1                    E. PERR - AUDIO RECORDING
       2         (phonetic) that's how it's called.          We were
       3         involved in, as mentioned, Puerto Rico
       4         and...
       5               Q.    Those five?
       6               A.    Hold on a second, I don't know how
       7         many other.     And Fort Hood is not a
       8         financial thing, it's a -- it's a lawsuit
       9         against the government but we're not -- it's
     10          not financial, there's no agreement for
     11          finances, it means for payments of the
     12          victims of Fort Hood.
     13                      MR. NEUMANN:     Was the center a
     14                party to that litigation?
     15                      JEDEDIAH PERR:      Certainly, we're
     16                paying the attorneys.
     17                      MR. SPONDER:       All right.
     18                Mr. Perr, the son, I can't have you
     19                answering questions.
     20                A.    Okay, look, we put the lawyer on,
     21          our lawyer took it on a personal basis,
     22          maybe not, but we paid a salary, we paid a
     23          law firm to do it as well, to bring that
     24          lawsuit on behalf of the victims.
     25                Q.    Which lawsuit?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    It's a lawsuit of Fort Hood
       3         against the U.S. government on behalf of the
       4         victims of the massacre that took place by
       5         Major Hasan.
       6                     We don't show it, our name doesn't
       7         show anywhere the attorney Sher with the law
       8         firm that he involved that has brung that
       9         lawsuit.
     10                      MR. SPONDER:     All right,
     11                Mr. Neumann, that causes problems
     12                for -- in bankruptcy, paying the bills
     13                of a lawsuit that -- without court
     14                order that doesn't -- I don't even --
     15                      MR. NEUMANN:     It happened
     16                post-petition.
     17                      MR. SPONDER:     Okay, just -- you're
     18                aware of it?
     19                      MR. NEUMANN:     I'm aware of the
     20                issues.    We're aware of it, we'll take
     21                care of it.
     22                      MR. SPONDER:     So we need all of
     23                those legal actions set forth in the
     24                statement of financial affairs so that
     25                accurately reflects the debtors, the

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       1                    E. PERR - AUDIO RECORDING
       2               litigations that are pending at the
       3               time of the bankruptcy filing.
       4                     THE WITNESS:     Pardon me, you're
       5               talking about something going back a
       6               number of years.      This is not
       7               happening -- there's no payments been
       8               for years already.
       9                     MR. SPONDER:     Okay, that makes
     10                things easier.
     11                Q.    All right, I went through the
     12          assets and liabilities of the company.           Are
     13          in any other assets -- not liabilities, just
     14          assets.    Are there any other assets of
     15          company that have not been listed?
     16                A.    Not to my knowledge, I can't
     17          recall.
     18                Q.    All right, Paul Gaston you list as
     19          a secured creditor 712,000 but disputed.
     20          Before you told me that you think he might
     21          be owed the entire amount, but it's disputed
     22          as to that.     So you don't think he's owed
     23          the entire amount?
     24                A.    It's abnormally complicated, it's
     25          between how many clients owe him and he owes

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       1                    E. PERR - AUDIO RECORDING
       2         them.   I can't answer that right now.          That
       3         has to be worked out.
       4               Q.    When can you answer it?
       5               A.    I can't even answer that.
       6               Q.    How do you answer that?
       7               A.    I'll have to call whatever --
       8         Gaston and discuss with him possibly.
       9               Q.    Is there a contract that explains
     10          what he's owed?
     11                A.    Somewhere yes.
     12                      MR. SPONDER:     Okay, I'm going to
     13                need that considered and I think I
     14                already requested that contract.
     15                      MR. NEUMANN:     You did.
     16                Q.    All right, to best of your
     17          knowledge are there any other secured
     18          creditors other than, I guess, the three
     19          creditors that you filed the adversary
     20          proceeding that whether or not they're
     21          secured or not but they weren't listed as
     22          secured for purposes of the schedules.
     23                      MR. NEUMANN:     The debtor sends
     24                they're not secured.
     25                Q.    Any other secured creditors to the

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       1                    E. PERR - AUDIO RECORDING
       2         best of your knowledge?
       3               A.    I don't know what means secured
       4         creditor.
       5               Q.    That they hold a lien against any
       6         of the assets or collateral of the debtor?
       7               A.    I can't think of any now.
       8               Q.    Okay.    You have listed here the
       9         IRS is owed about $1,100.
     10                A.    It's a few days old.
     11                Q.    American Center for Civil Justice
     12          it just stops at R-E-L-I-G-I.         Is that
     13          American Center for Civil Justice Religious
     14          Tolerance, Inc. or something to that effect?
     15                      MR. TOLCHIN:     Liberty and
     16                Tolerance, Inc.
     17                Q.    And who owns that company?
     18                A.    It's a not-for-profit.
     19                Q.    It's a not-for-profit.        And who
     20          owns it?
     21                A.    It's a corporation, New Jersey
     22          corporation.
     23                Q.    Who are the directors, do you
     24          know?
     25                A.    The directors, is one of them is

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       1                    E. PERR - AUDIO RECORDING
       2         sitting next to me.
       3               Q.    All right, and his name?
       4               A.    Jed Perr, P-E-R-R.
       5               Q.    And that company --
       6               A.    (Inaudible.)
       7               Q.    That company --
       8               A.    I'm not family with more than
       9         that, yeah.
     10                Q.    That company is owed about
     11          $14.8 million?
     12                A.    Yeah.
     13                Q.    From what?
     14                A.    From an agreement.
     15                Q.    Would you be able provide a copy
     16          of that agreement?
     17                A.    Yes.
     18                Q.    Is that a 2007 agreement?
     19                A.    I don't recall the date, that
     20          reaffirmed it was originally and that was
     21          reaffirmed by the board and so on.
     22                      MR. SPONDER:     Reaffirmed by the
     23                board in, I think in 2013, Mr. Neumann
     24                so the agreement and the amendment.
     25                Q.    Avi Elishis.

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       1                    E. PERR - AUDIO RECORDING
       2                     MR. TOLCHIN:     Elishis.
       3               Q.    Elishis.    Got it right the first
       4         time.   5.6 million, do you recall what
       5         that's for?
       6               A.    That's what they're suing us for,
       7         I don't know -- I don't have the figures.
       8               Q.    What are they suing you for?
       9         That's my question.
     10                A.    They're suing because they feel we
     11          should -- that the American Center was
     12          obligated to tell them about a certain
     13          property and we didn't tell them about a
     14          property, something like that.         I'm not very
     15          clear about that lawsuit to begin with.
     16                Q.    And you dispute that they're owed
     17          any money?
     18                A.    Dispute what.
     19                Q.    The debtor disputes?
     20                A.    I dispute that I owe it, yeah.
     21                Q.    Unknown amount, Chad Holland
     22          listed an unknown amount.        Is Chad Holland a
     23          claimant?
     24                A.    Claimant, yes.
     25                Q.    And do the claimants sign an

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       1                     E. PERR - AUDIO RECORDING
       2         agreement with the debtor when -- when you
       3         have discussions and then they become a
       4         claimant?
       5                A.    They sign an agreement and they --
       6         yes.
       7                Q.    Is that called a claimant and
       8         center agreement?
       9                A.    Yes, it is.
     10                       MR. SPONDER:    I'm going to need
     11                 the claimant and center agreements that
     12                 are in existence now.
     13                 Q.    Cielito Valencia, that's another
     14          claimant?
     15                 A.    Yes.
     16                 Q.    Cullen Dyckman in an unknown
     17          amount?
     18                 A.    Yes.
     19                 Q.    Is Cullen Dyckman, LLP, that's a
     20          law firm, correct?
     21                 A.    I imagine so, that sounds right,
     22          yeah.
     23                 Q.    No, I'm just -- it has an LLP,
     24          I've heard of it.      I'm just asking you, do
     25          you know if it's -- if you don't know it's a

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       1                    E. PERR - AUDIO RECORDING
       2         law firm, you tell me you don't know?
       3               A.    I don't know.
       4               Q.    It's in an unknown amount.         Do you
       5         know why -- do you know what's owed to them?
       6               A.    No.
       7               Q.    So you don't know that they're a
       8         law firm, you have no dealings with them?
       9               A.    I don't deal with them.
     10                Q.    Who dealt with them?
     11                A.    I don't know.
     12                Q.    Who else assists you with running
     13          American Center for Civil Justice?
     14                A.    When I'm over my head.
     15                Q.    When you're over your head?
     16                A.    Okay, and then the board can't
     17          help me I will call my son to help me.
     18                Q.    Does your son know about Cullen
     19          Dyckman?
     20                A.    Possibly, I don't -- ask him.
     21                Q.    When you're over your head, what
     22          does your son do to assist?
     23                A.    I can't tell you, magic.
     24                Q.    What you're doing is you're going
     25          to cause me to serve a 2004 exam on your son

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       1                    E. PERR - AUDIO RECORDING
       2         by answering "magic."       Do you want to
       3         clarify?    A 2004 exam is a deposition.         If
       4         you don't know, you don't know.
       5               A.    I don't know, I don't know.
       6               Q.    Magic --
       7               A.    I don't know, take out magic, I
       8         don't know.
       9               Q.    Magic is red flags.
     10                A.    I don't know.
     11                Q.    Diana Compuzano, $8.95 million.
     12          Is that -- she has a claim against the
     13          debtor?
     14                A.    Yes.
     15                Q.    Is that -- is she one of the
     16          claimants?
     17                A.    Yes.
     18                Q.    And you dispute that as well,
     19          correct?
     20                A.    Yes.
     21                Q.    Then Dinsmore & Shohl.
     22                A.    Yes.
     23                Q.    35,000?
     24                A.    Yes.
     25                Q.    Do you know what that's for?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    They worked for Fort Hood on the
       3         Fort Hood case.
       4               Q.    They're attorneys?
       5               A.    Yes.
       6               Q.    And you dispute that they're owed
       7         any money?
       8               A.    I think we paid them up, I'm not
       9         sure they did the work that they were
     10          supposed to do and so on.
     11                Q.    DLA Piper we know is a law firm.
     12          But in an unknown amount?
     13                A.    Right.
     14                Q.    Do you know how much they're owed?
     15                A.    No.
     16                Q.    Did you deal with DLA Piper or did
     17          you deal with someone else?
     18                A.    I did on and off, mostly it was
     19          done by -- I think Engleberg dealt with them
     20          mostly.
     21                Q.    Did -- is DLA Piper still
     22          representing certain of the debtor's
     23          claimants?
     24                A.    Yes, yes, yes.
     25                Q.    Donna Marie Holland claimant?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Yes.
       3               Q.    You're listed as being owed
       4         $320,000?
       5               A.    Okay.
       6               Q.    What is that for?
       7               A.    Salary.
       8               Q.    So that's a year and a half
       9         salary?
     10                A.    Yeah.
     11                Q.    The estate of Curtis Taylor, is
     12          that a claimant?
     13                A.    Yes.
     14                Q.    Curtis Taylor.
     15                A.    Yeah.
     16                Q.    Gerald Walsh, a claimant?
     17                A.    Yes.
     18                Q.    Greg Salzman, 4.7 million?
     19                A.    Yes.
     20                Q.    That's a claimant as well?
     21                A.    Yes.
     22                Q.    And they filed a lawsuit?
     23                A.    Mm-hmm.
     24                Q.    And you dispute that amount?
     25                A.    Yes.

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       1                     E. PERR - AUDIO RECORDING
       2                Q.    James Holland in an unknown
       3         amount?
       4                A.    Yes.
       5                Q.    That's a claimant?
       6                A.    Yes.
       7                Q.    Harris Tannenbaum, that's a person
       8         on the board of directors?
       9                A.    Nope.
     10                 Q.    Is that a different Tannenbaum?
     11                 A.    No, that's -- we just hired him as
     12          a --
     13                 Q.    Comptroller.
     14                 A.    Right, right, he did taxes.
     15                 Q.    So that's his salary, 6,800?
     16                 A.    No, 6,800 was for the taxes, he
     17          said, he filed (inaudible) taxes.          He wasn't
     18          paid.
     19                 Q.    Okay, that was for his services --
     20                 A.    Right.
     21                 Q.    That was provided.
     22                       Joshua Ambush $38.8 million,
     23          that's disputed?
     24                 A.    Yes.
     25                 Q.    What claim is that, that's a claim

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       1                    E. PERR - AUDIO RECORDING
       2         he brought against the debtor?
       3               A.    Yeah.
       4               Q.    Do you recall what it was for?
       5               A.    Absolutely not.
       6               Q.    Who would know?
       7                     MR. NEUMANN:     He filed a proof of
       8               claim, that's the only basis that we
       9               have for knowing that.        It does not
     10                have other information in it.
     11                Q.    Right.    Did you ever deal with
     12          Mr. Ambush?
     13                A.    No, it was years ago.
     14                Q.    Joyce Brewer, is that a claimant?
     15                A.    Yes.
     16                Q.    Koffsky Schwalb, LLC is owed
     17          321,000, is that a law firm?
     18                A.    Yes.
     19                Q.    Are they continuing to work as of
     20          now for the claimants or for the debtor?
     21                A.    I think so, yeah.
     22                Q.    Loeb & Loeb 150,000, is that a law
     23          firm as well?
     24                A.    Yes, law firm, yeah.
     25                Q.    Lourdes Ledon, 20,000?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Yes.
       3               Q.    Law firm?
       4               A.    Law firm.
       5               Q.    Luz Southard is a claimant?
       6               A.    Who?
       7               Q.    Southard, S-O-U-T-H-A-R-D.
       8               A.    I assume so, yeah.
       9               Q.    Maria Taylor, claimant.
     10                A.    I think so.
     11                Q.    Michael Engleberg, claimant or is
     12          that -- who is Michael Engleberg?
     13                A.    Too long a speech, Michael
     14          Engleberg.    Who is he?     His lawyer is here,
     15          maybe he'll explain.       He was a board member.
     16                Q.    So he's a former board member?
     17                A.    It's a derivative lawsuit whatever
     18          is going on six years, I can't recall.
     19                Q.    And is that the counterclaim that
     20          we discussed, the $4.3 million?
     21                A.    Yeah.
     22                Q.    But he believe -- but he has -- he
     23          sued you -- he sued the debtor; how much did
     24          he sue the debtor for?
     25                A.    No money, no (inaudible) he sued

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       1                    E. PERR - AUDIO RECORDING
       2         to take over the corporation.
       3               Q.    Michael Welch, is that a claimant?
       4               A.    Claimant, yes.
       5               Q.    Neal Sher, 12,500?
       6               A.    Claimant, he's a lawyer, yeah,
       7         maybe a month's salary.
       8               Q.    Is he an employee of the company?
       9               A.    Yes.
     10                Q.    And he acts as general counsel?
     11                A.    Yes.
     12                Q.    Is that a monthly salary?
     13                A.    Yes.
     14                Q.    So he was owed one month?
     15                A.    Yes.   I believe he's still owed
     16          actually.
     17                Q.    Mr. Paul Blais, is that a
     18          claimant?
     19                A.    Claimant, yeah.
     20                Q.    Professor Dan Sarooshi, 25,000?
     21                A.    He's a lawyer who represents the
     22          victims in England.
     23                Q.    Professor Roy Simon.
     24                A.    Also a lawyer.
     25                Q.    $37,000.

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Yeah.
       3               Q.    What did he do?
       4               A.    He was an ethics professor.         And
       5         he got involved and represented whatever it
       6         is, I don't recall.
       7               Q.    Was he an expert in one of your
       8         cases?
       9               A.    No.
     10                Q.    Richard Paul Brewer, is that a
     11          claimant?
     12                A.    Yes.
     13                Q.    Sonya Broadway, claimant?
     14                A.    I believe so.
     15                Q.    Steven Wolfe, a claimant?
     16                A.    I believe so.
     17                Q.    Tory's LLP, 120,000.       That's a law
     18          firm, correct?
     19                A.    Law firm.
     20                Q.    And Weinreb Law Firm, $180,000
     21          another law firm?
     22                A.    Correct.
     23                Q.    Are there any other creditors that
     24          I haven't gone over that you're aware of?
     25                A.    Not that I know of.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    So I think if those are all the
       3         claimants, then we know the claimant
       4         agreements that we need to get.
       5                     MR. NEUMANN:     Right.
       6                     MR. SPONDER:     Might make life a
       7               little easier to get.
       8                     Schedule G, as we talked about or
       9               was talked about earlier, needs to add
     10                those agreements as well as any
     11                agreements with attorneys, all of
     12                those.
     13                Q.    I'm going to ask you a few
     14          accounting questions; if you don't know the
     15          answer that's fine, we'll ask your
     16          controller or accountant.
     17                      When the does the debtor's fiscal
     18          year end?    Is it based on a calendar year?
     19          If you don't know you have to say you don't
     20          know?
     21                A.    I don't know.
     22                Q.    Is accounting done on a cash or
     23          accrual basis?
     24                A.    I don't know.
     25                Q.    Who maintains the books and

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       1                    E. PERR - AUDIO RECORDING
       2         record?
       3               A.    They have them in the office, the
       4         controller at this point.
       5               Q.    Did you ever maintain them?
       6               A.    No.
       7               Q.    Statement of financial affairs
       8         sets forth that you would be the person to
       9         contact who maintains the book and records?
     10                A.    Right, you're the only one
     11          contacted for a period of time now.
     12                Q.    So which is the right answer?
     13                A.    It's in the office, I'm the only
     14          one that you called, so what do I tell you?
     15                Q.    Okay.    Did the debtor make any
     16          payments exceeding $6,425 to any creditors
     17          during the 90 days prior to the bankruptcy
     18          filing?
     19                A.    No.
     20                Q.    Other than the lawsuit that was
     21          discussed, is there any other litigation the
     22          debtor is seeking to file?
     23                A.    Not that I can think of at this
     24          point.
     25                Q.    Was any of the debtor's property

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       1                    E. PERR - AUDIO RECORDING
       2         attached, garnished or seized during the
       3         year prior to the bankruptcy filing?
       4               A.    No.
       5               Q.    Were any of the debtor's assets
       6         repossessed or closed upon or otherwise
       7         transferred upon during the year prior to
       8         the bankruptcy filing?
       9               A.    Our bank account as seized.
     10                Q.    When was that, within a year?
     11                A.    Probably a year and a half
     12          something like that.       A year to year and a
     13          half.
     14                Q.    Was any property in the hands of a
     15          receiver or other court-appointed official
     16          during the year prior to the filing?
     17                A.    No.
     18                      MR. SPONDER:     What is the
     19                trustee -- would he be considered?
     20                      MR. NEUMANN:     Well, it's a good
     21                question.    He's a court appointed in a
     22                district court action to oversee a fund
     23                that exists by virtue of a version of
     24                title 24 which is the internal revenue
     25                code which I read and didn't completely

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       1                    E. PERR - AUDIO RECORDING
       2               understand.     But he has custody of a
       3               lot of money and there's some money
       4               that is the subject of a dispute
       5               between the plaintiffs in the
       6               garnishment action and the debtor.           And
       7               I've seen correspondence from his
       8               lawyer saying, I think, that they're
       9               waiting for a court of competent
     10                jurisdiction to decide who owns the
     11                money.
     12                      MR. SPONDER:     Okay.
     13                Q.    Did the debtor have any previous
     14          addresses in the last two years?
     15                A.    No.
     16                Q.    Was the debtor ever -- actually
     17          three years, was the debtor ever located at
     18          4912 14th Avenue in Brooklyn, New York?
     19                A.    We maintain -- yes, we maintain a
     20          office -- we retain a private secretary
     21          there, it's a legal address.
     22                Q.    That's an office?
     23                A.    It's a legal address, it's
     24          (inaudible) and it's a legal address.
     25                Q.    Legal address for whom?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    For the American Center, it's a
       3         New York address.
       4               Q.    Is that leased, that property, or
       5         owned?
       6               A.    No, it used to be leased, no.
       7               Q.    So the debtor owns it or who owns
       8         it?
       9               A.    It's owned by a corporation
     10          (inaudible.)
     11                Q.    It's owned by a corporation.         Does
     12          the debtor pay rent?
     13                A.    No.
     14                Q.    What's the name of the corporation
     15          that owns it?
     16                A.    YMHA.
     17                Q.    Are you a member or officer of
     18          that company?
     19                A.    No.
     20                Q.    Any of your family members?
     21                A.    Nope.
     22                Q.    And they let you stay there for
     23          free?
     24                A.    It's -- yeah, it's an address.
     25                Q.    How about 1331 55th Street in

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       1                    E. PERR - AUDIO RECORDING
       2         Brooklyn, New York?
       3               A.    No, hasn't been used for many
       4         years.
       5               Q.    280 Madison Avenue New York, New
       6         York?
       7               A.    It's a mailing address, yeah.
       8               Q.    Is that a PO box?
       9               A.    No, it's an address, we don't have
     10          a box.
     11                Q.    Is there an office there?
     12                A.    There's a telephone and an office
     13          there.     I don't have the details.
     14                Q.    Who would have the details?
     15                A.    I don't know.      I get a bill once a
     16          year.
     17                Q.    But if you don't have the details,
     18          who would have the details?
     19                A.    I would have to ask.
     20                Q.    Ask whom?
     21                A.    I mean, I can ask you a question,
     22          is that an address (inaudible.)
     23                Q.    That's fine, I understand that.
     24          But you're answering questions that --
     25                A.    I'm answering correctly. You're

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       1                    E. PERR - AUDIO RECORDING
       2         asking me am I in touch with that, I pay the
       3         bill for it and if people have to call they
       4         forward the call and so on.
       5               Q.    So there's no one presently
       6         physically at that location for the debtor?
       7               A.    No.
       8               Q.    Does the debtor have an
       9         accountant?
     10                A.    Excuse me?
     11                Q.    Does the debtor have an
     12          accountant?
     13                      MR. NEUMANN:     An outside
     14                accountant.
     15                Q.    An outside accountant.
     16                A.    No, not at this point.
     17                Q.    Do you know Simonne Beckeled's
     18          address?
     19                A.    54 -- I don't have it in front of
     20          me.
     21                Q.    All right, number 28 on statement
     22          of financial affairs just doesn't have her
     23          address.
     24                      Payroll is listed here as just
     25          payroll, it doesn't say whom.         I don't like

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       1                    E. PERR - AUDIO RECORDING
       2         to assume, but possibly assume that it's
       3         certain of the board of directors that are
       4         --
       5                     MR. NEUMANN:     ID the people that
       6               are on the payroll.
       7               Q.    Yes.   And there's negative
       8         numbers, is there any reason why there's
       9         negative amounts that are listed here?
     10                A.    I don't know.
     11                Q.    Where did you get those numbers
     12          from?
     13                A.    I don't recall.
     14                Q.    Who would have given them to you?
     15                A.    I don't recall (inaudible.)
     16                Q.    It says payroll, then it has these
     17          negative numbers.
     18                A.    The new controller put this, we
     19          went through it, I'm not familiar with it.
     20                      MR. NEUMANN:     An explanation.
     21                      MR. SPONDER:     Explanation for the
     22                controller.
     23                A.    No.
     24                Q.    Did the debtor suffer any losses
     25          from fire, theft or any other casualty

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       1                    E. PERR - AUDIO RECORDING
       2         during the year prior to the bankruptcy
       3         filing?
       4               A.    No.
       5               Q.    So to be clearer, since I know the
       6         dates, it's a copy of the April 12th, 2007
       7         agreement between the debtor and the
       8         American Center for Civil Justice Religious
       9         Liberty and Tolerance, Inc. which was
     10          amended again on October 8th, 2013.
     11                      Was there a settlement reached in
     12          the state court in the derivative action
     13          between Engleberg and the debtor?
     14                A.    There was a tentative paper what
     15          you call, but it was -- but it was never
     16          finished, it was never completed.
     17                      MR. SPONDER:     Okay, a copy of the
     18                settlement agreement, or purported
     19                settlement agreement, I should say.
     20                Q.    Were there the law firms that are
     21          assisting the claimants such as Tory's, Loeb
     22          & Loeb, Lourdes Morena, Koffsky, were they
     23          continuing to provide services from -- in
     24          January, February or March of this year?
     25                A.    I can't answer the question, I

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       1                   E. PERR - AUDIO RECORDING
       2         don't know.
       3                     MR. SPONDER:     The reason why I'm
       4               asking is that there are orders in the
       5               state court that they were seeking to
       6               get paid?
       7                     MR. NEUMANN:     Right.
       8                     MR. SPONDER:     And those amounts
       9               are much different than the amount in
     10                the schedules; the amounts in the
     11                schedules are higher.       So the only
     12                answer to that would be that they
     13                provided hopefully services or
     14                something is wrong.       So I'd like you to
     15                look into that.
     16                      MR. NEUMANN:     So I'm trying to
     17                reconcile --
     18                      MR. SPONDER:     Yes.
     19                      MR. NEUMANN:     -- the orders where
     20                they're trying to get paid.
     21                      MR. SPONDER:     Right.    And they did
     22                get paid in 2017, some of them did get
     23                paid.   Some of them did get paid in the
     24                2018 order, which would lead me to
     25                believe that there was a big number for

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       1                    E. PERR - AUDIO RECORDING
       2               some of them for just three and a half
       3               months, which might be correct, might
       4               not be correct, I don't know.
       5                     MR. NEUMANN:     Well, DLA Piper
       6               could be a real big number if they're
       7               doing stuff, I don't know.
       8                     MR. SPONDER:     Correct.
       9                     MR. TOLCHIN:     They're on
     10                contingency.
     11                      MR. NEUMANN:     I hope they are,
     12                good, you're right.       15 percent.
     13                      UNIDENTIFIED SPEAKER:        I could
     14                show you the orders when he's finished.
     15                Q.    So we talked about briefly
     16          Mr. Ambush filed a lawsuit against the
     17          debtor?
     18                A.    I am assuming.
     19                Q.    Okay.
     20                      MR. SPONDER:     If there is a
     21                lawsuit --
     22                      MR. NEUMANN:     Right.
     23                      MR. SPONDER:     -- filed by
     24                Mr. Ambush, that needs to be added to
     25                statement of financial affairs.

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       1                    E. PERR - AUDIO RECORDING
       2                     MR. NEUMANN:     Right.
       3                     MR. TOLCHIN:     He attached it to
       4               the claim.
       5               Q.    There's a Dominich versus Guzman.
       6               A.    That's the Puerto Rican claim.
       7                     MR. TOLCHIN:     That needs to be
       8               added as well.
       9                     MR. NEUMANN:     Mm-hmm.
     10                Q.    Other than the agreement that was
     11          entered into in 2007 and 2013 with your
     12          son's not-for-profit, are there any other
     13          agreements that the debtor has with that
     14          company?
     15                A.    No.
     16                Q.    Have there ever been any other
     17          agreements?
     18                A.    No.
     19                Q.    Going through my questioning.          You
     20          need another break or can we continue?
     21                A.    You can continue.
     22                Q.    We'll start, we'll go around the
     23          table.     Well, actually we'll go, ladies
     24          first.
     25                      FEMALE SPEAKER:      (Inaudible.)

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       1                   E. PERR - AUDIO RECORDING
       2                     MR. SPONDER:     So we'll -- she's
       3               still first, she passes.        We'll go
       4               around.
       5                     Set forth your name, who you
       6               represent, where you're from, all for
       7               the record please, and please ask
       8               whatever questions you may have if you
       9               have any, sir.
     10                      MR. SERBIN:     We'll start from that
     11                side.
     12                      MR. SPONDER:     You want me to pass
     13                for the time?
     14                      MR. SERBIN:     You want me to go
     15                first?
     16                      MR. SPONDER:     I was going to go
     17                this way, it just makes life easier.
     18                      MR. SERBIN:     That's fine.        Gary
     19                Serbin from Koffsky Schwalb.         We
     20                represent the ACCJ, the American Center
     21                for Civil Justice in the -- in the suit
     22                in Nassau County in the Compuzano
     23                versus ACCJ.     We don't represent any
     24                claimants.     This is just their
     25                presentation.

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       1                   E. PERR - AUDIO RECORDING
       2                     We've been involved in the suit
       3               prior them filing for bankruptcy and
       4               that's basically it.
       5                     MR. SPONDER:     All right.     Do you
       6               have any questions of Mr. Perr?
       7                     MR. SERBIN:     I don't have any
       8               questions.
       9                     MR. SPONDER:     Sir?
     10                      MR. WEINREB:     Elan Weinreb for the
     11                Weinreb Law Firm, 1225 Franklin Avenue,
     12                Suite 325, Garden City, New York.          I
     13                represent ACCJ in Engleberg versus
     14                Perr, index number 606919/2014.          That
     15                case was previously discussed, has a
     16                settlement agreement.       The exact nature
     17                of it is still up in the air, but it
     18                was signed approximately in December up
     19                to that point -- December 2017.
     20                      Up to that point I was
     21                representing ACCJ in the litigation
     22                there, and to the extent that any
     23                issues in the Compuzano versus Sher
     24                action that arose related to that
     25                action, I advised on those issues as

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       1                    E. PERR - AUDIO RECORDING
       2               well.   That action is 6053792016.
       3                     I do have just a couple of
       4               questions for the debtor.
       5         EXAMINATION BY
       6         MR. WEINREB:
       7               Q.    So Rabbi Perr, you mentioned
       8         before that the ACCJ's assets were frozen.
       9         Do you have an opinion as to whether or not
     10          the freezing of those assets precipitated or
     11          otherwise influenced the bankruptcy in this
     12          matter?
     13                A.    It didn't help.
     14                Q.    Would it also be the case that
     15          there was a discussion of an attachment
     16          order in the -- actually attachment orders
     17          in the Compuzano matter.        Would those also
     18          have precipitated or influenced the
     19          bankruptcy in this matter?
     20                A.    I thought it was the same
     21          question, yes. What do you mean attachment
     22          order?
     23                Q.    No, first was the freeze order?
     24                A.    Yeah.
     25                Q.    And then I'm asking the same

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       1                    E. PERR - AUDIO RECORDING
       2         question with respect to the attachment
       3         orders.
       4               A.    I don't know what attachments
       5         orders are.     That's how little I know about
       6         (inaudible.)
       7               Q.    With respect to your counsel, at
       8         what point was your counsel first retained
       9         by ACCJ?
     10                A.    Which counsel are you referring
     11          to.
     12                Q.    Mr. Neumann.
     13                A.    Shortly after the last offer was
     14          made to settle this case.
     15                Q.    And could you please give an
     16          estimate?
     17                A.    Just a few days after, that's all,
     18          you have the dates when it was filed.           After
     19          that meeting we made it.
     20                Q.    Would be it accurate to say it was
     21          around March 22, 2018?
     22                A.    Something like that, yeah.
     23                      MR. WEINREB:     I don't have any
     24                further questions.       Thank you.
     25                      MR. SPONDER:     Thank you.     Sir?

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       1                    E. PERR - AUDIO RECORDING
       2                      MR. HOWE:    I'm going to pass to
       3               Mr. Tolchin and reserve.
       4                      MR. SPONDER:    I'm just going to
       5               get up before we continue because I
       6               actually ran out of ink in two pens and
       7               I'm going to get another pen.
       8                      That's all right, I'll get my own
       9               pen.    You can write too, but I listen
     10                as you ask.
     11                       Go ahead; you can ask questions.
     12          EXAMINATION BY
     13          MR. TOLCHIN:
     14                Q.     So you said it was what you called
     15          a tentative settlement agreement, do you
     16          recall saying that?
     17                A.     Yeah.
     18                Q.     And that was a tentative
     19          settlement agreement of the case of
     20          Engleberg versus Perr?
     21                A.     That's correct.
     22                Q.     And did you participate in
     23          negotiating that tentative settlement
     24          agreement?
     25                A.     Somewhat.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Were you represented by a lawyer?
       3               A.    Yes.
       4               Q.    Who was that?
       5               A.    Sher.
       6               Q.    Neal Sher.
       7               A.    Neal Sher.
       8               Q.    Anyone else?
       9               A.    Were you involved?
     10                Q.    Gary Serbin?
     11                A.    Were you involved in that also?
     12                Q.    Koffsky Schwalb?
     13                      MR. SERBIN:     Just for the record,
     14                Koffsky Schwalb was not involved in the
     15                negotiation.
     16                Q.    Elan Weinreb, Elan Weinreb?
     17                      MR. SPONDER:     One second.      We're
     18                asking Mr. Perr, if he doesn't know the
     19                answer then he answers we don't know.
     20                You're not on -- we'll get to that.
     21                Q.    How about Joseph Covello?
     22                A.    I don't know.
     23                Q.    Did he represent you in
     24          negotiating that agreement?
     25                A.    Not to my knowledge.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Did you sign that agreement?
       3               A.    Yes, I did.
       4               Q.    Are you aware of anyone else
       5         having signed that agreement?
       6               A.    Engleberg signed it.
       7               Q.    Engleberg signed it.       How about
       8         Jedidiah Perr, Jed Perr, did he sign it?
       9               A.    I don't know.
     10                Q.    You don't know if he signed it?
     11                A.    I certainly signed it I know.
     12                Q.    What?
     13                A.    I signed it I know.
     14                Q.    Did you see a fully executed copy
     15          of that document?
     16                A.    I do not recall.
     17                Q.    Do you know whether that document
     18          was sent to the New York State Attorney
     19          General's office?
     20                A.    Yes, it was.
     21                Q.    It was.    And was the Attorney
     22          General's office told that that was a signed
     23          copy of the settlement agreement we've
     24          negotiated?
     25                A.    Not to my knowledge.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    What were they told about this
       3         tentative settlement agreement?
       4               A.    I don't recall.      I have to see,
       5         talk to the lawyer who sent it.
       6               Q.    And who would that be?
       7               A.    I imagine Sher.
       8               Q.    How about was the firm of Loeb &
       9         Loeb representing you?
     10                A.    Possibly.
     11                Q.    But you don't know?
     12                A.    I can't answer you, there's a lot
     13          lawyers involved.
     14                Q.    You listed on the schedule I
     15          believe $150,000 that's owed to Loeb & Loeb,
     16          is that correct?
     17                A.    Whatever it says, that's what the
     18          bill is.
     19                Q.    In excess of $100,000 owed to Loeb
     20          & Loeb?
     21                A.    Something like that.
     22                Q.    What was that for?
     23                A.    I don't recall.
     24                Q.    What work did Loeb & Loeb do?
     25                A.    I don't recall.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Did Loeb & Loeb represent you in
       3         negotiating a settlement agreement?
       4               A.    I wouldn't if -- I didn't watch
       5         the bills, if the bill says, so they did so.
       6               Q.    So who did the watch the bills?
       7               A.    I don't know, next.
       8               Q.    Okay.    Do you know whether the
       9         ACCJ made an application to Supreme Court
     10          Nassau County for money to pay an
     11          accountant?
     12                A.    Yes, we did.
     13                Q.    What accountant was that?
     14                A.    Harris Tannenbaum tax return.
     15                Q.    Harris Tannenbaum?
     16                A.    Yes, I think it was.
     17                Q.    What did you say Mr. Jed Perr, you
     18          whispered something?
     19                      JEDEDIAH PERR:       No, no, talking
     20                to myself.
     21                Q.    Did you -- did I hear you
     22          correctly when you testified that you took
     23          salary last week?
     24                A.    Yes.
     25                Q.    Is the ACCJ not under an asset

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       1                    E. PERR - AUDIO RECORDING
       2         freeze order from the state court, Judge
       3         Bucaria?
       4                     MR. NEUMANN:     It's been superseded
       5               by the Chapter 11.
       6                     MR. TOLCHIN:     Says who?
       7                     MR. NEUMANN:     The bankruptcy code,
       8               it's an injunction.
       9                     MR. TOLCHIN:     So it's vacated, the
     10                judge's orders are vacated?         That's
     11                what you're saying?
     12                      MR. NEUMANN:     I don't want a legal
     13                debate, but unless you're an
     14                environmental regulator or exercising
     15                police power, the injunction's
     16                generally regarding the assets of
     17                debtor.
     18                      MR. TOLCHIN:     (Inaudible) by
     19                unilaterally filing a bankruptcy
     20                petition, all the state judge's orders
     21                are vacated.
     22                      MR. NEUMANN:     You have questions
     23                of the witness?
     24                      MR. TOLCHIN:     I'm asking you, sir.
     25                      MR. NEUMANN:     I'm not going to

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       1                    E. PERR - AUDIO RECORDING
       2               answer, I'm not going to have this
       3               debate.    We're not in a court.
       4                     MR. TOLCHIN:     We kind of are.
       5                     MR. SPONDER:     We're in a
       6               courthouse.
       7                     MR. NEUMANN:     We're in a
       8               courthouse.
       9               Q.    So other than paying yourself, did
     10          the ACCJ make any other payments that have
     11          been held up because of the Judge Bucaria's
     12          as injunction?
     13                A.    Paid all the salaries and
     14          outstanding bills and file office
     15          maintenance and that's it.
     16                Q.    What other salaries did you pay
     17          besides paying yourself?
     18                A.    It's all in the record, it will
     19          come at the end of the month.
     20                Q.    I'm asking you, sir.
     21                A.    I'm answering you.
     22                Q.    I'm not going to get anything.
     23                A.    You're not in a courtroom.
     24                Q.    So did you pay Neal Sher?
     25                A.    I paid Neal Sher.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    How much did you pay Neal Sher.
       3               A.    His full salary, I don't know.
       4               Q.    How much money, how many zeros?
       5               A.    Figure it out, it's on the record.
       6               Q.    Did you pay anyone besides Neal
       7         Sher?
       8               A.    All salaries are paid.
       9               Q.    Who?
     10                A.    It's all on record.
     11                Q.    You said there's four employees,
     12          if I'm not mistaken.       Is that what you said?
     13                A.    Listen, you're not in a courtroom;
     14          behave yourself, all right?         You want
     15          through a deposition with me, that's it.
     16                      MR. NEUMANN:     You still have to
     17                answer his questions.
     18                A.    I don't --
     19                Q.    Who are the four employees?
     20                A.    The four employees --
     21                Q.    You, Neal Sher and who else.
     22                A.    And the secretary.
     23                Q.    What's her name?
     24                A.    Her name is Simonne Beckeled.
     25                Q.    Simonne Beckeled?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Yes.
       3               Q.    She's also a board member?
       4               A.    That's right.
       5               Q.    How much did you pay Simonne
       6         Beckeled?
       7               A.    900, 1,000, whatever 900 or a
       8         1,000, something like that.
       9               Q.    $900,000?
     10                      MR. NEUMANN:     900 or 1,000.
     11                Q.    Okay, and who's the fourth
     12          employee?
     13                A.    We don't have any salaries for
     14          fourth employees at this point.
     15                Q.    Who was the fourth employee?
     16                A.    I told you we don't have a
     17          salaried fourth employee.
     18                Q.    Right, but I asked you what the
     19          person's name is?
     20                A.    The person's name is Harris
     21          Tannenbaum.
     22                Q.    Okay, what's the salary?
     23                A.    He's not paid yet.
     24                Q.    Okay.    So you said you don't know
     25          who -- you said you don't know who Roy Simon

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       1                    E. PERR - AUDIO RECORDING
       2         is.
       3               A.    I didn't say that.
       4               Q.    Okay, who is Roy Simon?
       5               A.    He's a lawyer.
       6               Q.    And who does he represent?
       7               A.    I can't answer you, he did legal
       8         work, he was paid for it.
       9               Q.    What legal work did he do?
     10                A.    As assigned, I don't know.
     11                Q.    I'm sorry?
     12                A.    As he was assigned, I don't know.
     13                Q.    What did he work on?
     14                A.    You have to look up his profession
     15          and ask him.
     16                Q.    Where should I look?
     17                A.    I don't know, those are submitted,
     18          it's all in the record.
     19                Q.    Where are those bills?
     20                A.    Wherever they are.
     21                Q.    Do you have them?
     22                A.    I don't have them with me.
     23                Q.    Do you have them anywhere in this
     24          world?
     25                A.    I assume so.

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       1                     E. PERR - AUDIO RECORDING
       2                Q.    Where would that be?
       3                A.    It would be located in the office
       4         if he sent it in, it's in the office in a
       5         pile of papers.
       6                Q.    Did you pay him?
       7                A.    I didn't pay him.
       8                Q.    Have you paid him any money?
       9                A.    Since bankruptcy or before?
     10                 Q.    No, before.
     11                 A.    No, it was frozen.
     12                 Q.    Did you pay him any money before?
     13                 A.    Not that I recall.
     14                 Q.    Did you put in an application to
     15          Judge Bucaria asking for permission to pay
     16          him?
     17                 A.    Yes, I did.
     18                 Q.    Did you Judge Bucaria give you
     19          permission to pay him?
     20                 A.    As far as I know, no.
     21                 Q.    Okay.   What about Josh Ambush?
     22                 A.    What about him?
     23                 Q.    How about have you known Josh
     24          Ambush?
     25                 A.    I've known him since he was 17.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Was Josh Ambush an employee of
       3         American Center?
       4               A.    I claim yes and he claims no.
       5               Q.    Is he suing the American Center
       6         for Civil Justice?
       7               A.    It seems so.
       8               Q.    Well, have you been served with a
       9         summons and complaint?
     10                A.    No.
     11                Q.    Do you have lawyers representing
     12          you in the case involving Josh Ambush?
     13                A.    Several years ago it was a lawyer
     14          that was dealing with him and I haven't
     15          heard from this case in three years.
     16                Q.    Who was that lawyer?
     17                A.    Charles Both.
     18                Q.    Charles Both, B-O-T-H?
     19                A.    That's right, yeah.
     20                Q.    And he was representing him?
     21                A.    Yes, to the best of my knowledge.
     22                Q.    Does he still represent him?
     23                A.    I have no idea.
     24                Q.    What was the disposition of
     25          Mr. Ambush's case?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    I don't know.
       3               Q.    Well, you listed Mr. Ambush's
       4         claim on the petition, didn't you?
       5               A.    Yes, he has a claim.
       6               Q.    For $31 million?
       7               A.    I didn't say 31, he claimed 31.
       8               Q.    Where did he make the claim of
       9         $31 million?
     10                A.    I have no idea.
     11                      MR. NEUMANN:      He filed a proof of
     12                claim in this bankruptcy case.
     13                      MR. TOLCHIN:      Yes, that was after
     14                he filed the petition.
     15                Q.    So I'm asking you from the time
     16          you filed the petition, where he got
     17          $31 million --
     18                      MR. NEUMANN:      It wasn't on the
     19                petition, it was on the schedules.            The
     20                schedules were done after the claim was
     21                filed.
     22                      MR. TOLCHIN:      Do you have the
     23                petition?
     24                      MR. SPONDER:      Yes, I do.
     25                Q.    Do you understand, sir, the

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       1                    E. PERR - AUDIO RECORDING
       2         general nature of what Mr. Ambush claims?
       3               A.    He claims violation of a
       4         settlement agreement.
       5               Q.    What settlement agreement was
       6         that?
       7               A.    I don't recall, it's going back a
       8         lot of years.
       9               Q.    A settlement agreement of a case?
     10                A.    No.
     11                Q.    What kind of a settlement was it?
     12                A.    I don't recall.
     13                Q.    Do you have a copy of that
     14          settlement agreement?
     15                A.    Not at hand.
     16                Q.    Do you have it anywhere in the
     17          world?
     18                A.    Yep.
     19                Q.    Where would that be?
     20                A.    It would be in the office.
     21                Q.    Did you violate the settlement
     22          agreement?
     23                A.    No, not to my knowledge.
     24                Q.    Did the settlement agreement
     25          require you to pay money to Josh Ambush?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    No, it was a settlement.
       3               Q.    Well, usually in a settlement one
       4         person gives up his claim and the other one
       5         pays some money.
       6               A.    Joshua Ambush paid some money.
       7               Q.    Josh Ambush paid you money?
       8               A.    Mm-hmm, American Center, yeah.
       9               Q.    Did he pay that money?
     10                A.    Yes, he -- the insurance paid or
     11          he paid, I don't recall.
     12                Q.    Now, you said you didn't know what
     13          Cullen Dyckman was.       Do you recall saying
     14          that today?
     15                A.    What's it called?
     16                Q.    Cullen and Dyckman.
     17                A.    I don't recall the name.
     18                Q.    Let me ask you, Rabbi Perr, before
     19          today have you ever seen me before?
     20                A.    I saw you a long time ago.          I have
     21          your name in my phone book.
     22                Q.    Have you seen me this year?
     23                A.    Excuse me?
     24                Q.    Have you seen me in the year 2018?
     25                A.    No -- wait a second, yes,

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       1                    E. PERR - AUDIO RECORDING
       2         certainly in negotiation.
       3               Q.    You saw me at a negotiation?
       4               A.    Mm-hmm.
       5               Q.    Was that a mediation?
       6               A.    I don't know what a mediation is,
       7         in the next room with a glass wall.
       8               Q.    Where was it that you saw me at a
       9         negotiation?
     10                A.    In an office in Manhattan.
     11                Q.    Okay, and whose office was that?
     12                A.    I don't recall.
     13                Q.    Was that a law firm called Cullen
     14          Dyckman?
     15                A.    Possibly.
     16                Q.    But you don't know where you went
     17          to?
     18                A.    No.
     19                Q.    How did you get there that day?
     20                A.    I took a car to the address and
     21          that's where I went -- I went -- I went with
     22          my attorney.
     23                Q.    (Inaudible.)
     24                A.    Listen, (inaudible) ask my
     25          attorney, ask Sher, he took me there.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Sher was your attorney?
       3               A.    Not my attorney, he works for the
       4         American Center.
       5               Q.    When was that --
       6               A.    I don't have --
       7               Q.    -- the negotiation?
       8               A.    I don't know the date.
       9               Q.    What month was it?
     10                A.    It was in March.
     11                Q.    Was it the day before you filed
     12          the petition?
     13                A.    One or two days before, yeah
     14          (inaudible).
     15                Q.    The petition and the bankruptcy?
     16                A.    Oh, it was two or three days I
     17          guess before.
     18                Q.    A day or two before you filed the
     19          petition?
     20                A.    Three, yeah.
     21                Q.    You were present at a mediation?
     22                A.    That's right.
     23                Q.    In Manhattan at Cullen and
     24          Dyckman's office?
     25                A.    I assume so.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Did you sign an agreement agreeing
       3         to pay Cullen and Dyckman's legal fees?
       4               A.    Not to my knowledge, I don't
       5         recall.
       6               Q.    Was there a mediation agreement?
       7               A.    I don't think so.
       8               Q.    Now, you mentioned or somebody
       9         mentioned claimant and center agreements.
     10          Have you heard that term?
     11                A.    Yes, I did.
     12                Q.    What's a claimant and center
     13          agreement?
     14                A.    It's an agreement with the victim
     15          to -- authorizing representation to engage
     16          attorneys for them and an agreement of
     17          payment.
     18                Q.    So are there a number of claimants
     19          in the world or terror victims who have
     20          signed claimant and center agreements with
     21          the American Center for Civil Justice?
     22                A.    Yes, there are.
     23                Q.    Are there also to your knowledge a
     24          number of terror victims in the world who
     25          have signed claimant and center agreements

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       1                    E. PERR - AUDIO RECORDING
       2         with the American Center for Civil Justice
       3         Religious Liberty and Tolerance, Inc.?
       4               A.    I'm not involved, I don't know,
       5         you have to ask him.
       6               Q.    You don't know whether --
       7               A.    No.
       8               Q.    -- there's any individuals who
       9         have signed claimant and --
     10                A.    No.
     11                Q.    -- and center agreements with that
     12          organization?
     13                A.    No.
     14                Q.    There was a case called Valencia.
     15          Are you familiar with that case?
     16                A.    (Inaudible.)
     17                Q.    There was a case called Valencia,
     18          are you familiar with that case?
     19                A.    I don't recall all these names,
     20          you have to forgive me.
     21                Q.    You don't know.       Do you know who
     22          Cielito Valencia?
     23                A.    I don't recall all the names.
     24                Q.    Do you recall the name Steven
     25          Wolfe?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    I don't recall the names.
       3               Q.    So where did you get the name
       4         Cielito Valencia to include on your Schedule
       5         EF for item 3.4, where did you get that
       6         name?
       7               A.    Take a break, take a break.
       8               Q.    Do you need a break?
       9               A.    Get some fresh air.        Yeah.
     10                      MR. SPONDER:      We're going to take
     11                a break.
     12                       (END FILE TITLED: 1002)
     13                      (BEGIN FILE TITLED: 1003)
     14                      MR. SPONDER:      All right, we're
     15                back on the record, Mr. Perr took
     16                another break and hopefully he's
     17                feeling up to the rest of this, and
     18                hopefully we don't need any more
     19                breaks.
     20                      But we wanted -- someone wanted to
     21                just put on -- state your name on the
     22                record again and wanted to make a
     23                statement.
     24                      JEDEDIAH PERR:       Just asking for my
     25                father's health, how much longer does

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       1                    E. PERR - AUDIO RECORDING
       2               he have to stay?
       3                     MR. SPONDER:      Well see --
       4                     JEDEDIAH PERR:       He's exhausted.
       5                     MR. SPONDER:      Understood.      We'll
       6               see where the questions are going, I'm
       7               hoping not more than -- well,
       8               Mr. Politan, are you going to ask
       9               questions?
     10                      MR. POLITAN:      No.
     11                      MR. SPONDER:      So these are the
     12                last questions.
     13                      MR. SERBIN:      I have questions.
     14                      MR. SPONDER:      You have questions?
     15                      MR. SERBIN:      I asked that I
     16                reserve.
     17                      MR. SPONDER:      You reserved.
     18                      MR. SERBIN:      But I won't have
     19                much.
     20                      MR. SPONDER:      What do you think
     21                five, ten minutes.
     22                      MR. SERBIN:      It's 4:05, the day
     23                ends.
     24                      MR. NEUMANN:      What do you think?
     25                How much longer do you think you have?

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       1                    E. PERR - AUDIO RECORDING
       2               I want to give him a number.
       3                     MR. HOWE:     It depends on what he
       4               does.
       5                     MR. SPONDER:      I understand.
       6               Fifteen, twenty minutes.
       7                     MR. SERBIN:      Yeah, not that.
       8                     MR. SPONDER:      Not that, okay. Ten,
       9               fifteen minutes.
     10                      JEDEDIAH PERR:       Okay, just my
     11                father might have to just (inaudible)
     12                next time.
     13                      MR. SPONDER:      Well, the -- the
     14                deal is this:      If we end and don't
     15                finish, you have to come back.
     16                      JEDEDIAH PERR:       That's fine.
     17                      MR. SPONDER:      But if we finish,
     18                you don't have to come back.
     19                      JEDEDIAH PERR:       I understand that.
     20                      MR. SPONDER:      Just, sir.
     21                      MR. SERBIN:      This is Gary Serbin
     22                from Koffsky Schwalb, with respect to
     23                my previous statements that were made
     24                concerning the settlement agreement in
     25                the Nassau County case with Michael

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       1                    E. PERR - AUDIO RECORDING
       2               Engleberg, Koffsky Schwalb represented
       3               Elie Ezer Perr and Milton Pollack as
       4               individuals and did not represent ACCJ
       5               and on behalf of ACCJ in those
       6               negotiations.      And those negotiations
       7               on behalf of ACCJ were handled by
       8               Mr. Neal Sher.
       9                     MR. SPONDER:      Okay, thank you.       If
     10                you want to continue.
     11          EXAMINATION BY
     12          MR. TOLCHIN:
     13                Q.     Mr. Perr, do you know who Sonya
     14          Broadway is?
     15                A.     Let me explain this more than yes
     16          or no.     The power of attorney in most of
     17          these people and most of all of them as a
     18          matter of fact, the sole power of attorney
     19          was Michael Engleberg.        He claims that these
     20          people are American Center people and -- and
     21          this -- and as on the side of precaution,
     22          any name he submitted as American Center
     23          people we potentially can be sued for, they
     24          were listed on this form.
     25                Q.    So who is Sonya Broadway?

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       1                     E. PERR - AUDIO RECORDING
       2                A.    I don't know myself, I don't know
       3         the person.
       4                Q.    Is she a claimant?
       5                A.    I assume so, a potential claimant.
       6                Q.    Did you retain an attorney for
       7         her?
       8                A.    I can't answer, I don't know.
       9                Q.    Did you fund any extensive
     10          litigation for her?
     11                 A.    I don't know.
     12                 Q.    Did you recover any money for her?
     13                 A.    I don't know.
     14                 Q.    Do you know what the United States
     15          Victims State Sponsored Terrorism Fund is?
     16                 A.    Yes.
     17                 Q.    Okay.   Would you agree that's a
     18          government fund from Washington that pays
     19          out money to terror victims?
     20                 A.    Yes.
     21                 Q.    Who have judgments against state
     22          sponsors of terrorism?
     23                 A.    Yes.
     24                 Q.    And in fact, did the American
     25          Center for Civil Justice get some money from

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       1                    E. PERR - AUDIO RECORDING
       2         that fund through their clients?
       3               A.    No, we arranged that fund for the
       4         clients to get directly from the fund.
       5               Q.    Right.     Because did any claimants
       6         represented or assisted by the American
       7         Center for Civil Justice receive money from
       8         this fund?
       9               A.    Yes.
     10                Q.    And out of the money that those
     11          claimants received, did any of those
     12          claimants make a donation or a payment to
     13          the American Center for Civil Justice?
     14                A.    I don't know.
     15                Q.    You don't know if you got any
     16          money from --
     17                A.    Nope.
     18                Q.    -- claimants.      Do you know whether
     19          the American Center for Civil Justice
     20          Religious Liberty and Tolerance, Inc.
     21          received any money from claimants who got
     22          money from that fund?
     23                A.    I don't know.
     24                Q.    Do you know whether Sonya Broadway
     25          signed a claimant and center agreement with

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       1                    E. PERR - AUDIO RECORDING
       2         the American Center for Civil Justice?
       3               A.    I don't know.
       4               Q.    Do you know whether Sonya Broadway
       5         signed a claimant of center agreement with
       6         the American Center for Civil Justice
       7         Religious Liberty and Tolerance?
       8               A.    I don't know.
       9               Q.    You said a few minutes ago that
     10          Dr. Engleberg said that these were claimants
     11          represented by the American Center.            Do you
     12          recall that testimony?
     13                A.    Dr. Engleberg claims everything --
     14                Q.    I only ask you if you remember
     15          having said that a moment ago.
     16                A.    What did I say?       Repeat that.
     17                Q.    You that Dr. Engleberg says that
     18          Sonya Broadway was a claimant represented by
     19          the American Center for Civil Justice.
     20                A.    Let me clarify.       He says that all
     21          claimants belong to the American Center and
     22          nothing belongs to New Jersey or anything
     23          else.    This is his position on everything.
     24                Q.    So when you say "New Jersey," are
     25          you referring to the American Center for

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       1                    E. PERR - AUDIO RECORDING
       2         Civil Justice Religious Liberty and
       3         Tolerance, Inc.?
       4               A.    Yes, I am.
       5               Q.    That's the entity that your son
       6         controls?
       7               A.    I am not familiar with the
       8         legal -- the legal board of the center, I'm
       9         not familiar with it.        I know that he has --
     10                Q.    That is the --
     11                A.    That's correct.
     12                Q.    That is the entity that your son
     13          Jed, is on the board of?
     14                A.    Yes.
     15                Q.    So you're saying that
     16          Mr. Engleberg says that all the claimants
     17          who were -- who signed claimant and center
     18          agreement with the New Jersey center as you
     19          call it, are actually or should be
     20          considered as if they were claimants of the
     21          American Center?
     22                A.    That has been his position.
     23                Q.    Okay.    Do you share that position?
     24                A.    No, I don't.
     25                Q.    Why don't you share that position?

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       1                    E. PERR - AUDIO RECORDING
       2                     JEDEDIAH PERR:       You don't have to
       3               answer that, this is a novelty.
       4               Q.    You kind of have to answer it.
       5               A.    I'm sorry.
       6               Q.    You do not share Dr. Engleberg's
       7         position?
       8               A.    Dr. Engleberg and I are in a
       9         lawsuit.
     10                      JEDEDIAH PERR:       You don't have to
     11                answer.
     12                      MR. TOLCHIN:      Can I have Jed Perr
     13                removed from the room?
     14                      JEDEDIAH PERR:       It's a lawsuit.
     15                      MR. TOLCHIN:      This is ridiculous.
     16                      MR. SPONDER:      If you speak again
     17                --
     18                      THE WITNESS:      It's a lawsuit.
     19                      MR. SPONDER:      -- you have to
     20                leave.
     21                Q.    So you do not share
     22          Dr. Engleberg's position?
     23                A.    It's a lawsuit, whatever will be
     24          resolved, will be resolved.
     25                Q.    Sir, do you believe that anyone

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       1                    E. PERR - AUDIO RECORDING
       2         that who signed the claimant and center
       3         agreement with the New Jersey center is a
       4         claimant or client of the New Jersey Center
       5         and not the debtor, American Center for
       6         Civil Justice?
       7                     MR. NEUMANN:      I think the response
       8               is it's an issue that's involved in
       9               pending litigation and it would be
     10                outside the scope of this hearing.
     11                      MR. TOLCHIN:      I'm asking what he
     12                contends.
     13                      MR. NEUMANN:      But it's an issue
     14                that's currently in litigation.
     15                      MR. TOLCHIN:      What litigation is
     16                that part of?
     17                      MR. NEUMANN:      It's a part of
     18                litigation.
     19                      MR. TOLCHIN:      Maybe you should
     20                have asked that before you directed the
     21                answer, Mr. Neumann.
     22                Q.    Which litigation is that part of?
     23                A.    There's litigation between
     24          Engleberg's and -- the litigation of
     25          Engleberg against myself and against the

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       1                    E. PERR - AUDIO RECORDING
       2         center.
       3               Q.    That case is called Engleberg
       4         versus Perr?
       5               A.    I don't know what it's called.
       6               Q.    You don't know the name of the
       7         case?
       8               A.    I don't know the name of the case.
       9               Q.    Is that a case in Nassau County?
     10                A.    In Nassau County.
     11                Q.    In front of Judge Bucaria?
     12                A.    Yes.
     13                Q.    In that litigation you are
     14          personally a party?
     15                A.    I don't recall.
     16                Q.    You don't know if you're a party?
     17                A.    I don't know, I don't know.
     18                Q.    You just said that Engleberg
     19          started a litigation against yourself.
     20          Didn't you just say that?
     21                A.    You take everything literally.
     22          Okay, the litigation is what speaks for
     23          itself, okay.
     24                Q.    Which litigation speaks for
     25          itself?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    I'm not going to answer.
       3                     MR. SPONDER:       So you're refusing
       4               to answer, sir?
       5                     THE WITNESS:      I don't have an
       6               answer.    I don't know what he's talking
       7               about.
       8                     MR. SPONDER:      So ask him to
       9               clarify.
     10                A.    You want to repeat your question?
     11                Q.    You said a moment ago that there's
     12          litigation involving Dr. Engleberg's claim
     13          that certain claimants should be regarded as
     14          clients of the debtor.        Do you recall saying
     15          that?
     16                A.    I am not a lawyer to speak in
     17          legalese terms.      There's a litigation
     18          between Engleberg and myself going on for
     19          six years, I do not know the name of the
     20          case and I'm not a specialist on it.            It's
     21          either taken care of the by attorneys or
     22          Sher takes care of it and that's it.
     23                Q.    But you're a part of that case,
     24          Elie Ezer Perr is part of that case?
     25                A.    I do not know, I don't read the

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       1                    E. PERR - AUDIO RECORDING
       2         papers and I don't take part in it.
       3               Q.    Have you ever signed an affidavit
       4         in that case?
       5               A.    I don't recall.
       6               Q.    Have you ever testified in a
       7         deposition?
       8               A.    No, not to my knowledge, no.
       9               Q.    In that litigation have you had to
     10          respond to Dr. Engleberg's claims?
     11                A.    So what's the question?
     12                Q.    Have you had to respond to
     13          Dr. Engleberg's claims, question mark.
     14                A.    The attorneys responded.
     15                Q.    On your behalf?
     16                A.    I would assume so.
     17                Q.    And if the attorneys responded on
     18          your behalf, did they agree with
     19          Dr. Engleberg's claim that Sonya Broadway
     20          was a client or claimant of the American
     21          Center for Civil Justice?
     22                      MR. NEUMANN:      Don't answer the
     23                question.     We're not going to answer
     24                any more questions about the pending
     25                litigation.      We've established this is

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       1                    E. PERR - AUDIO RECORDING
       2               a pending litigation.
       3                     MR. TOLCHIN:      Why not, what
       4               objection?
       5                     MR. NEUMANN:      Because this is a
       6               341A hearing, you can take a deposition
       7               --
       8                     MR. TOLCHIN:      But he's listing
       9               these people as claimants, and saying
     10                there's millions of dollars involved
     11                and a settlement agreement that he
     12                didn't bother mentioning.
     13                      MR. SPONDER:      And this was exactly
     14                what I mentioned not to happen before
     15                we got on.     If Mr. Neumann says not to
     16                answer, it's on the record.          You'll
     17                have to bring your own 2004 and they'll
     18                have to show up again and face the
     19                music then.
     20                      You can ask whatever questions you
     21                want and he can continue to say I don't
     22                know and you can get that on the record
     23                and then you can use it for whatever
     24                it's worth later.
     25                Q.    So you mentioned there was some

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       1                    E. PERR - AUDIO RECORDING
       2         litigation involving Diana Compuzano and Avi
       3         Elishis and Greg Salzman.         Do you recall
       4         saying that?
       5               A.    I don't recall them, I don't
       6         recall what I said.
       7               Q.    Do you know that there was a
       8         lawsuit against the American Center for
       9         Civil Justice?
     10                A.    I'm aware of it.
     11                Q.    Brought by them?
     12                A.    And by yourself, yes.
     13                Q.    As their attorney?
     14                A.    Yes.
     15                Q.    Do you know the status of that
     16          lawsuit?
     17                A.    There is no status.
     18                Q.    Is that lawsuit pending in court?
     19                A.    We're in Chapter 11, I don't
     20          understand.     This is whatever legal
     21          terminology, whatever it is.
     22                Q.    Well, in that lawsuit do you know
     23          when the motion for summary judgment was
     24          filed?
     25                A.    I don't know.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Do you know whether -- well, do
       3         you know whether the American Center for
       4         Civil Justice is a party to that lawsuit?
       5               A.    Certainly.      It's a defendant.
       6               Q.    Okay, what about the American
       7         Center for Civil Justice's general counsel
       8         Neal Sher, is he a party to that lawsuit?
       9               A.    I believe so, yes.
     10                Q.    And is the American Center for
     11          Civil Justice represented by a lawyer in
     12          that lawsuit?
     13                A.    As far as I know, yes.
     14                Q.    Is that Koffsky Schwalb?
     15                A.    You have to ask him, there's so
     16          many lawyers.
     17                Q.    You don't know who the ACCJ's
     18          lawyer is in that case?
     19                      JEDEDIAH PERR:       All right, I think
     20                we're going to call it a day, my father
     21                gets a break.
     22                      MR. SPONDER:      Sir, you're able to
     23                answer more questions or am I going to
     24                stop this and we're going to come back
     25                for another 341?

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       1                    E. PERR - AUDIO RECORDING
       2                     THE WITNESS:      Continue, continue.
       3                     MR. SPONDER:      I don't -- if you
       4               have health concerns, I'm not going to
       5               be the one that -- if you have a health
       6               concern -- okay, if you don't --
       7               A.    Can you repeat the question
       8         please, go ahead.
       9               Q.    Who is your attorney representing
     10          the American Center for Civil Justice in the
     11          Compuzano lawsuit?
     12                A.    I think you answered that.
     13                Q.    Tell us if you know.        If you don't
     14          know, you can say you don't know.
     15                      MR. SPONDER:      That's -- that's
     16                actually --
     17                A.    I don't know.
     18                      MR. SPONDER:      If you don't know,
     19                that's -- you don't remember whatever
     20                need to say, you say.
     21                Q.    Do you know whether the American
     22          Center for Civil Justice submitted
     23          opposition papers to a summary judgment
     24          motion in that case?
     25                A.    I don't know.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Have you ever read any document in
       3         the case of Diana Compuzano, Avi Elishis and
       4         Greg Salzman versus the American Center for
       5         Civil Justice et al.?
       6               A.    Hardly, hardly.       I'm not -- I
       7         don't pay attention to it.
       8               Q.    You don't pay attention.         So do
       9         you know how much the American Center for
     10          Civil Justice is being sued for?
     11                      MR. NEUMANN:      All right, don't
     12                answer the question.        I'm going to cut
     13                off the questioning about the pending
     14                litigation.
     15                      MR. SPONDER:      Do you have any
     16                questions other than the pending
     17                litigation?
     18                      MR. TOLCHIN:      Give me a moment.
     19                To save time why don't you let David
     20                go, and if I have anything I'll come
     21                back.
     22                      MR. HOWE:     Hi, Mr. Perr.
     23                      THE WITNESS:      Yes.
     24                      MR. HOWE:     I'm David Howe, law
     25                firm Livingston & Howe, LLP (inaudible)

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       1                    E. PERR - AUDIO RECORDING
       2               I represent my client who you've met
       3               before.    I only have a few questions
       4               for you.
       5         EXAMINATION BY
       6         MR. HOWE:
       7               Q.    If I understand what you said a
       8         few minutes ago in response to Mr. Tolchin's
       9         questions, and this is going to be a rather
     10          long question too, so just bear with me.
     11                      It seems to be that you said is
     12          that there's a number of claimants
     13          identified in your schedules as creditors
     14          who have claimant and center agreements with
     15          what we've been calling the New Jersey
     16          Center, is that correct?
     17                A.    I don't know that for a fact.
     18                Q.    Okay, what I thought I understood
     19          you to say was that there are some claimants
     20          who have those types of agreements that my
     21          client is disputing that those are filed
     22          (inaudible.)
     23                A.    I didn't say that to my knowledge.
     24                Q.    Okay.    Do you think that there are
     25          any claimants listed in these schedules that

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       1                    E. PERR - AUDIO RECORDING
       2         have claimant and center agreements that
       3         were signed by the New Jersey Center?
       4               A.    I don't know that.
       5               Q.    Now, referring to the settlement
       6         agreement that you said you signed to
       7         resolve the lawsuit brought by my client,
       8         Dr. Engleberg, do you recall when that
       9         agreement was signed?
     10                A.    No, I don't.
     11                Q.    If I told you that it was signed
     12          in December of last year, December of 2017,
     13          would that sound right to you?
     14                A.    I can't answer, I don't know.
     15                Q.    Do you recall if it was signed
     16          during the last 12 months?
     17                A.    Yes, it was.
     18                Q.    So can you approximate when it was
     19          signed?
     20                A.    Towards the end of year, beginning
     21          of '18, I'm not sure.
     22                Q.    Are you aware that one of the
     23          terms of that agreement is that the company
     24          we've been calling the New Jersey Center
     25          will be merged into the American Center?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Yes.
       3               Q.    Okay.    And are you also aware that
       4         as part of that agreement, the claims in the
       5         counterclaims amongst the parties in that
       6         lawsuit would be dismissed once it was
       7         approved by the Court, does that sound
       8         familiar to you?
       9               A.    Court and attorney general.
     10                Q.    And was it a part of that
     11          agreement that you would then retire upon
     12          the consummation of that agreement?
     13                A.    What is your question?
     14                Q.    I just said my question.         Was it a
     15          part of that agreement that once it was
     16          finalized and approved by the Court at that
     17          point you would retire from the American
     18          Center?
     19                A.    I retired, I don't know at what
     20          point and what position.
     21                Q.    I'm sorry, I don't understand.
     22                A.    I don't know at what point.          You
     23          say at that point upon signing it, I have
     24          to -- you're talking attorney talk.            I can't
     25          tell you when resign, yes, I'll resign.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    I'm not talking about --
       3               A.    I'm not saying what time and --
       4               Q.    What day?
       5               A.    (inaudible) when after I'm not
       6         sure what position, I'm not going into any
       7         of that.
       8               Q.    Okay, but at some point --
       9               A.    Yes, retire.
     10                Q.    Okay, did you have an idea of how
     11          long it would take before you decided to
     12          retire after the settlement was approved in
     13          court?
     14                A.    I have no idea.
     15                Q.    Within a year?
     16                A.    I have no idea.
     17                Q.    Within six months?
     18                A.    It was never discussed.
     19                Q.    It was never discussed?
     20                A.    To my knowledge, it was never
     21          discussed.     It would have to be worked out.
     22                Q.    Okay.
     23                A.    There's still litigation.          I don't
     24          know why we have to go through.
     25                Q.    Do you have an intention as to

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       1                    E. PERR - AUDIO RECORDING
       2         what will happen to that settlement
       3         agreement in the context of this bankruptcy
       4         case?
       5               A.    I can't imagine you or anyone else
       6         wanting to be on the board, but I have no
       7         idea.
       8               Q.    That was --
       9               A.    Of a bankrupt -- of a bankrupt
     10          organization, yes.       You would want to be on
     11          the board?
     12                Q.    I'm not sure if I would qualify as
     13          being sufficiently independent, because
     14          that's another one of the stipulations in
     15          the agreement is that they should be
     16          majority independent.
     17                A.    Independent like Engleberg, 47
     18          years of independence with me, yes.
     19                Q.    I understand that as sarcasm.
     20                A.    Yes, yes, of course it's sarcasm.
     21                      MR. NEUMANN:      Don't be sarcastic.
     22                The record is not going to reflect that
     23                you're being sarcastic, always be
     24                literal.
     25                      THE WITNESS:      (Inaudible.)

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    Now, so again if I understand this
       3         correctly under the claimant and center
       4         agreements, part of the deal is that if
       5         there is a financial recovery on behalf of a
       6         claimant, a portion of that recovery is to
       7         be donated to the American Center.           Is that
       8         correct?    And it's typically 20 percent.
       9               A.    That's right.
     10                Q.    Okay.
     11                A.    Excuse me, but you didn't state
     12          that it covers all fees.
     13                Q.    I understand.
     14                A.    All legal fees.
     15                Q.    So you advanced money for fees --
     16                A.    We charge less than half of what
     17          lawyers charge, yes.
     18                Q.    Understand.      As of today, do you
     19          anticipate that will be recoveries in the
     20          future for any of the victims who are being
     21          assisted by the American Center?
     22                A.    I can't know.
     23                Q.    Is it possible?
     24                A.    Most people don't pay.
     25                Q.    Okay.

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       1                    E. PERR - AUDIO RECORDING
       2               A.    (Inaudible.)
       3               Q.    Isn't it the case though, that
       4         there are payments anticipated to be made
       5         next year for the U.S. Victims of State
       6         Sponsors of terrorism Fund?
       7               A.    I wouldn't know, it goes through
       8         victims, not to center.
       9               Q.    So you don't know whether there's
     10          anticipation of future revenue?
     11                A.    I have no idea.
     12                Q.    Because I would say if there were
     13          going to be future revenues, it probably
     14          should have been scheduled as another asset
     15          --
     16                A.    I have no idea.
     17                Q.    -- in your schedules.
     18                      MR. NEUMANN:      As an asset of the
     19                center or is it an asset?
     20                      THE WITNESS:      I would have to say
     21                20 percent, they have to sue for that,
     22                we never sued anybody.
     23                Q.    Do you rely on your son for
     24          business advice?
     25                A.    No.

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       1                     E. PERR - AUDIO RECORDING
       2                Q.    Do you speak to your son about the
       3         business of the center?
       4                A.    Yes.
       5                Q.    How frequently do you do that?
       6                A.    I can't answer that question.
       7                Q.    Why not?
       8                A.    Because I don't keep a time
       9         schedule, I'm not an attorney.
     10                 Q.    Do you speak to your son every
     11          day?
     12                 A.    Pretty much.
     13                 Q.    And when you speak to him you talk
     14          about business?
     15                 A.    Sometimes yes, sometimes no.
     16                 Q.    Do you know how many employees are
     17          employed by the New Jersey Center?
     18                 A.    No, I don't.
     19                 Q.    Is it your understanding that your
     20          son is the principal employee and CEO of
     21          that organization?
     22                 A.    I never discussed it, I don't
     23          know.
     24                 Q.    Do you know the name of any other
     25          person who is affiliated with that?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    I'm not involved, I don't know.
       3               Q.    You don't know?
       4               A.    No.
       5                     MR. HOWE:     Okay, I'll pass it up
       6               to Mr. Tolchin.
       7                     MR. TOLCHIN:      I'd wish you give me
       8               five minutes warning when you do that.
       9         EXAMINATION BY
     10          MR. TOLCHIN:
     11                Q.    What's the nature of the fee
     12          dispute with Mr. Gaston?
     13                A.    I don't know.
     14                Q.    Who would know that?
     15                A.    I don't know the name, I would
     16          have to ask Mr. Gaston and Mr. Sher.
     17                Q.    Do you have any dispute with
     18          Mr. Gaston?
     19                A.    No.
     20                Q.    So I can ask Mr. Gaston for his
     21          side of the story?
     22                A.    You can ask him.
     23                Q.    Who would know your side of the
     24          story?
     25                A.    I don't know.      I'm not involved in

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       1                    E. PERR - AUDIO RECORDING
       2         the financial things in any case, I don't
       3         know.
       4               Q.    Do you recall Joshua's Ambush's
       5         lawsuit and there was a motion to dismiss
       6         filed?
       7               A.    I don't know.
       8               Q.    Who would know that?
       9               A.    I don't know.
     10                Q.    Do you know if the court ever
     11          decided the motion to dismiss?
     12                A.    There's no decision from the court
     13          for three years, I don't know.
     14                Q.    Is there any motion that's been
     15          pending --
     16                A.    No.
     17                Q.    -- for something like three years?
     18                A.    I don't know.
     19                Q.    Who would know?
     20                A.    I don't know.
     21                      JEDEDIAH PERR:       This has been
     22                going on for 20 minutes, half hour.
     23                      MR. NEUMANN:      You want to come
     24                back?
     25                      JEDEDIAH PERR:       How much time does

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       1                    E. PERR - AUDIO RECORDING
       2               each person get to question?
       3                     MR. SPONDER:      As much as I --
       4                     MR. NEUMANN:      Right, right or any
       5               time.    End it prematurely and have to
       6               come back.
       7                     MR. SPONDER:      He said he only had
       8               five or ten minutes so I'm hoping that
       9               it's less.
     10                Q.    So the -- what you're calling the
     11          New Jersey Center is listed as having a
     12          claim against the debtor on the petition; is
     13          that correct?
     14                A.    Yes.
     15                Q.    You listed it as $14,818,844?
     16                A.    If that's what it says, that's
     17          what it says.
     18                Q.    And you said that there's an
     19          agreement between the debtor and the New
     20          Jersey Center?
     21                A.    So I understand it, yes.
     22                Q.    Who signed that agreement?
     23                A.    I don't remember.
     24                Q.    Did you sign that agreement?
     25                A.    I don't remember, no, I don't

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       1                    E. PERR - AUDIO RECORDING
       2         remember.
       3               Q.    Did that agreement require --
       4               A.    I certainly didn't sign it.
       5               Q.    Did that agreement require the New
       6         Jersey Center to perform some services or do
       7         some work?
       8               A.    You don't have to --
       9               Q.    In order to be entitled to be paid
     10          $14 million.
     11                A.    I did not negotiate it, I was not
     12          involved with it, I can't answer the
     13          question.
     14                Q.    Did you ever read it?
     15                A.    I don't think so.
     16                Q.    Did you ever sign it?
     17                A.    No, not to my knowledge.
     18                Q.    You said the board reaffirmed it
     19          in 2013 or so?
     20                A.    I was not -- I didn't sign it.
     21                Q.    Were you at the board meeting
     22          where it was reaffirmed?
     23                A.    I stepped out.
     24                Q.    You stepped out of the meeting,
     25          why did you do that?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Because I didn't want to run
       3         conflict of interest.
       4               Q.    Why would there be a conflict of
       5         interest?
       6               A.    Figure it out yourself.
       7               Q.    I'm asking you, sir.
       8               A.    I don't know.
       9               Q.    You don't know why there would be
     10          a conflict of interest?
     11                A.    At this moment, no.
     12                Q.    Would it be because your son was
     13          the control person in the New Jersey Center?
     14                A.    Look, this will ride out in court
     15          this business.      I can't answer the question,
     16          I'm not going to answer.
     17                Q.    Why aren't you going to answer?
     18                A.    Because I don't know.
     19                Q.    Is that a false claim that you put
     20          on the petition?
     21                A.    No, no, it's not.
     22                Q.    What?
     23                A.    It's not to my knowledge.
     24                Q.    How did you come up with the
     25          number $14.8 million?

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       1                    E. PERR - AUDIO RECORDING
       2               A.    Ask our attorney.
       3               Q.    Where did that number come from?
       4               A.    Ask Mr. Sher, the attorney.
       5               Q.    Ask Mr. who?
       6               A.    Mr. Sher.
       7               Q.    Mr. Neal Sher made up that number?
       8               A.    I don't know if he made that up,
       9         he's more knowledgeable than I.
     10                Q.    Can you show me where Neal Sher's
     11          signature appears on the petition?
     12                A.    He's not a board member.
     13                Q.    He didn't sign this petition under
     14          penalty of perjury, did he?
     15                A.    No, he didn't.
     16                Q.    You did sir, correct?
     17                A.    That's right.
     18                Q.    So before you signed the petition
     19          under penalty of perjury, did you review the
     20          information contained on it and make sure
     21          that it was accurate?
     22                A.    I did advise my -- either the
     23          controller --
     24                Q.    Answer the question, sir, did you
     25          review the information and make sure this

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       1                     E. PERR - AUDIO RECORDING
       2         was accurate?
       3                A.    No, I did not, I assumed it to be
       4         so.
       5                Q.    So you're saying you have no idea
       6         whether the information contained in the
       7         petition was accurate.        Is that correct,
       8         sir?
       9                A.    What's your question?
     10                 Q.    Do you have any idea whether the
     11          information contained in the petition is
     12          accurate?
     13                       JEDEDIAH PERR:      (Inaudible.)
     14                 Q.    Mr. Jed Perr, please stop talking
     15          to the witness.
     16                       MR. SPONDER:     We're not taking a
     17                 break right now.
     18                 A.    No breaks.     Can you repeat your
     19          question?
     20                 Q.    As of today, sir, do you have any
     21          idea whether the information contained in
     22          the petition is accurate?
     23                 A.    I assume all the papers here are
     24          accurate and that's why they're signed as
     25          such.

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    What did you do to verify the
       3         accuracy of the number $14,818,844 listed as
       4         the claim for the American Center for Civil
       5         Justice Religious.       It's cut off, but the
       6         New Jersey Center.
       7               A.    I trust the accountant or the
       8         controller or my lawyer.
       9               Q.    Did you actually talk to an
     10          accountant or a lawyer or a controller about
     11          that number before you signed the petition?
     12                A.    I consulted everything here and I
     13          was told it's accurate.
     14                Q.    Who did you consult about that
     15          $14.8 million number?
     16                A.    I don't recall that particular
     17          thing.
     18                Q.    That's a little thing,
     19          $15 million, right?       Win some, lose some.
     20                A.    You know.
     21                Q.    Did you speak to Mr. Sher about
     22          that number?
     23                A.    I can't -- I do not know.
     24                Q.    You do not know?       So as you sit
     25          here today, is it a fact that you cannot

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       1                    E. PERR - AUDIO RECORDING
       2         give us even the general contours of where
       3         that $14.8 million number comes from.
       4               A.    I cannot.
       5               Q.    Would the same apply to Diana
       6         Compuzano's claim?
       7               A.    I do not know where it's from.
       8               Q.    Do you have even the foggiest
       9         notion of what Diana Compuzano's claims you
     10          owe her money for?
     11                      MR. NEUMANN:      We're not talking
     12                about that.      Don't answer the question.
     13                It's pending litigation.
     14                Q.    Well, last month when we sat in a
     15          mediation session, trying to negotiate a
     16          settlement of Diana Compuzano's claim, did
     17          you know what the case was about?
     18                A.    I still don't know what it was
     19          about.
     20                Q.    You don't know what the claim is?
     21                A.    You want to know if I know is what
     22          you're asking for?
     23                Q.    Yeah.
     24                A.    Whatever you submitted,
     25          20 million, 30 million; what did you submit?

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       1                    E. PERR - AUDIO RECORDING
       2               Q.    For what?
       3               A.    What did you submit?
       4               Q.    What was the nature of the claim?
       5                     MR. NEUMANN:      Don't answer the
       6               question.     We're not going to answer
       7               these questions.
       8                     MR. SPONDER:      I appreciate the
       9               questions.     But when you get this tape
     10                if you do, I think he's answered that
     11                question three to five times already,
     12                the same question.
     13                      MR. NEUMANN:      Which is that he
     14                does not know.
     15                      MR. SPONDER:      Correct.     So we have
     16                to move on from did not know.          Even if
     17                you don't agree, that's his testimony.
     18                      MR. TOLCHIN:      I have no more
     19                questions.
     20                      MR. NEUMANN:      Good, we're done.
     21                      MR. SPONDER:      I don't know, I
     22                might have more questions.         I want to
     23                stay here a lot longer, come on.           Gotta
     24                get past 6:00.
     25                      MR. NEUMANN:      It's my wife's

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       1                    E. PERR - AUDIO RECORDING
       2               birthday, I want to get out of here.
       3                     MR. SPONDER:      It's Mr. Neumann's
       4               wife's birthday.       I appreciate everyone
       5               for appearing.      I'm going to hold this
       6               meeting open for purposes of many of
       7               the documents I have requested.
       8                     MR. NEUMANN:      I made notes.
       9                     MR. SPONDER:      I know, I saw you
     10                writing notes; I appreciate that.
     11                Mr. Perr, I thank you, Rabbi Perr,
     12                thank you for appearing.
     13                      And we're going to end the
     14                meeting, but as I said leave it open,
     15                and that's that.
     16                      (END FILE TITLED: 1003)
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       1                    E. PERR - AUDIO RECORDING
       2
       3           I N D E X      O F     A U D I O      F I L E S

       4
       5         AUDIO FILE         START PAGE               END PAGE
       6         1001               6                        50

       7         1002               50                       106

       8         1003               106                      142

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     11                 °           °           °            °

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       1                    E. PERR - AUDIO RECORDING
       2                       C E R T I F I C A T E

       3
       4         STATE OF NEW YORK              )
                                                :   SS.:
       5         COUNTY OF RICHMOND             )

       6
       7               I, MADELINE TAVANI, a Notary Public for

       8         and within the State of New York, do hereby

       9         certify:

     10                That the above is a correct

     11          transcription of my stenographic notes.

     12                I further certify that I am not related

     13          to any of the parties to this action by

     14          blood or by marriage and that I am in no way

     15          interested in the outcome of this matter.

     16                IN WITNESS WHEREOF, I have hereunto set

     17          my hand this 3rd day of May 2018.

     18
     19
                                    ___________________________
     20                                   MADELINE TAVANI

     21
     22
     23
     24
     25

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                                                                         749,000 [1] 47/18
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                                                   25 [1] 2/11           162 [1] 3/16
      $1,100 [1] 58/9      143/8                   25,000 [1] 69/20
      $100,000 [2] 25/17  106 [2] 143/7 143/8      2760 [1] 2/6
                                                                         8
        90/19                    11 [9] 19/7 34/18 39/3     28 [2] 8/20 77/21         8484 [1] 2/12
       $11.8 [2] 42/18 42/18      40/25 43/22 44/12 44/14   280 [1] 76/5              88 [1] 2/17
       $11.8 million [2] 42/18    92/5 120/19               2:30 [1] 5/8              8th [1] 79/10
        42/18                    11.8 million [4] 42/25                               8USC1930A6 [1] 39/5
       $14 [1] 135/10             43/3 44/10 44/18
                                                            3
       $14,818,844 [2] 134/15    110 [1] 30/8               3.4 [1] 106/5
                                                                                      9
        139/3                    111 [1] 3/6                30 [2] 39/19 140/25       90 [7] 16/23 43/25 44/4
       $14,999 [1] 39/12         11201 [1] 3/7              3000 [1] 4/11              44/15 44/16 45/3 72/17
       $14.8 [4] 59/11 136/25    11530 [1] 4/6              31 [2] 99/7 99/7          900 [3] 95/7 95/7 95/10
        139/15 140/3             11AB [1] 44/14             321,000 [1] 67/17         9716 [1] 4/6
       $14.8 million [3] 59/11   12 [1] 125/16              325 [3] 4/5 39/13 84/12   973-645-2379 [1] 3/11
        139/15 140/3             12,500 [1] 69/5            341 [1] 121/25            973-768-6072 [1] 2/18
       $15 [1] 139/19            120,000 [1] 70/17          341A [2] 5/9 119/6
       $15 million [1] 139/19    1225 [2] 4/5 84/11         349 [1] 3/21
                                                                                      A
       $150,000 [1] 90/15        12th [3] 16/14 17/18       35,000 [1] 63/23          AB [1] 44/12
       $180,000 [1] 70/20         79/6                      3627 [1] 3/7              Abe [1] 2/11
       $19 [2] 51/19 52/9        13 [1] 24/13               3rd [1] 144/17            ability [1] 6/3
       $19 million [2] 51/19     1331 [1] 75/25                                       able [8] 24/21 25/3
        52/9                     142 [1] 143/8
                                                            4                          25/14 26/6 28/2 41/7
       $2,000 [1] 11/9           14th [1] 74/18             4,000 [3] 24/9 45/2        59/15 121/22
       $23 [1] 46/6              15 percent [1] 81/12        45/3                     abnormally [1] 56/24
       $23 million [1] 46/6      15,000 [2] 12/9 39/13      4.3 million [1] 52/14     about [48] 14/6 14/16
       $250 [1] 11/11            150,000 [1] 67/22          4.7 million [1] 65/18      16/13 16/17 17/17 21/24
       $3 [1] 26/21              15691 [2] 1/3 5/11         40 [1] 47/23               27/19 27/25 31/12 35/22
       $3 billion [1] 26/21      1590 [1] 3/22              401 [1] 32/22              36/15 37/3 42/23 43/22
       $30 [1] 22/17             17 [1] 97/25               410-580-3000 [1] 4/11      47/24 51/2 56/5 58/9
       $30 million [1] 22/17     18-15691 [2] 1/3 5/11      4367184386086 [1]          59/10 60/12 60/13 60/15
       $300 [2] 28/3 28/7        1928 [1] 3/6                7/10                      62/18 71/8 71/9 75/25
       $300 million [2] 28/3     19th [1] 5/7               45 [1] 47/24               81/15 86/5 88/21 89/7
        28/7                                                47 [1] 128/17              90/2 90/8 97/21 97/22
       $31 [3] 99/6 99/9 99/17   2                          4912 [1] 74/18             97/23 117/7 118/24
       $31 million [3] 99/6      2,000 [1] 11/18            4:05 [1] 107/22            121/6 123/13 127/2
        99/9 99/17               20 [6] 30/14 30/15 41/5                               131/2 131/14 139/10
       $320,000 [1] 65/4          41/9 41/9 133/22
                                                            5                          139/14 139/21 140/12
       $37,000 [1] 69/25         20 million [1] 140/25      5.6 million [1] 60/4       140/17 140/19
       $38.8 [1] 66/22           20 percent [2] 129/8       5/20 [1] 41/9             above [2] 1/15 144/10
       $4.3 [1] 68/20             130/21                    50 [2] 143/6 143/7        above-captioned [1]
       $4.3 million [1] 68/20    20,000 [1] 67/25           501 [1] 23/14              1/15
       $6,425 [2] 16/22 72/16    200 [1] 32/10              502 [1] 2/17              Absolutely [1] 67/5
       $740,000 [2] 45/8         2000 [2] 11/15 11/16       503C [1] 23/18            ACCJ [11] 83/20 83/23
        45/11                    2004 [3] 62/25 63/3        516-620-9716 [1] 4/6       84/13 84/21 86/9 91/9
       $8.95 [1] 63/11            119/17                    54 [2] 51/5 77/19          91/25 93/10 109/4 109/5
       $8.95 million [1] 63/11   2007 [3] 59/18 79/6        55th [1] 75/25             109/7
       $900,000 [1] 95/9          82/11                     575 [3] 36/13 41/13       ACCJ's [2] 85/8 121/17
                                 2013 [4] 59/23 79/10        42/6                     accomplish [1] 25/14
       '                          82/11 135/19                                        According [1] 48/13
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                                                            6                         account [7] 17/3 35/8
       'till [1] 38/24           2016 [3] 11/4 11/13        6,800 [2] 66/15 66/16      45/7 45/15 45/22 45/23
                                  12/2                      6053792016 [1] 85/2        73/9
       0                         2017 [3] 80/22 84/19       606919/2014 [1] 84/14     accountant [9] 71/16
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       07728   [1]   2/6         2018 [11] 1/10 5/7         615 [1] 39/13              91/11 91/13 139/7
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       10016 [1] 3/22            2379 [1] 3/11              733 [1] 3/21               138/12 138/22 138/24
       10017 [1] 3/16            23rd [1] 14/17             74,999 [1] 39/13           139/13
       1002 [3] 50/12 106/12     24 [1] 73/24               740,000 [1] 45/18         accurately [2] 18/24
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